APR 9,2021 _ Jefferson Parish Bheitfs Kitties: . Page: 1
Pitfield, Chad M. (116210)

| Training |
Course Title Date Hours Score Status

| P0123 POST 2021 d Advanced Firearms 4-08-2021 4.00 0.00 [Registered |
P0124 POST 2021 e Ethics 3-22-2021 1.00 0.00 |Passed |
P0126 POST h Responding to Active and Evolving Scenes 3-22-2021 1.00 0.00 |Passed
P0125 POST g Legal Updates and Department Vehicle 3-10-2021 1.00 0.00 |Passed
P0127 POST i Social Media 2021 ~ 3-10-2021 1.00 0.00 |Passed
P0123 POST 2021 d Advanced Firearms 3-08-2021 0.00 0.00 |No Show
P0122 POST 2021 c Emot Intel, Implicit Bias, Intervene 3-04-2021 4.00 0.00 |Completed
P0001 POST f Preventing Sexual Harassment 2-11-2021 1.00 0.00 |Passed
P0122 POST 2021 c Emot Intel, Implicit Bias, Intervene 2-03-2021 0.00 0.00 |2B Resch
P0123 POST 2021 d Advanced Firearms 2-01-2021 0.00 0.00 |2B Resch

2021 Pass/Complete: 9.00
P0109 POST 2020 c Officer Survival Active Shooter 12-10-2020 4.00 0.00 |Completed
P0108 | POST 2020 b CPR Defensive Tactics 12-08-2020 4.00 0.00 |Completed
P0110 POST 2020 e Ethics 10-31-2020 1.00 0.00 |Completed
P0001 POST f Preventing Sexual Harassment 10-31-2020 1.00 0.00 | Completed
P0111 POST g 2020 CPR On-Line 10-31-2020 1.00 0.00 |Completed
P0112 POST h 2020 First Aid Pt1 On-line 10-31-2020 7.00 0.00 | Completed
P0113 POST i 2020 First Aid Pt2 On-line 10-31-2020 1.00 0.00 | Completed
P0114 POST j 2020 Social Media 10-31-2020 7.00 0,00 | Completed
P0105 POST 2020 d Advanced Firearms 10-12-2020 4.00 0.00 |Completed
00159 Firearms Qualification or Practice (POST Course) C _ 8-14-2020 0.00 0.00 |No Show
PO105 POST 2020 d Advanced Firearms 8-13-2020 0.00 0.00 |No Show
P0109 POST 2020 c Officer Survival Active Shooter 8-11-2020 0.00 | 0.00 |No Show
P0104 POST 2020 a Annual Firearms Qualification 8-04-2020 4.00 0,00 |Completed |
2020 Pass/Complete: 22.00

P0091 POST 2019 b De-Escalation Training 11-13-2019 4.00 0.00 |Completed
P0104 POST | Communicating with Deaf or Hard of Hearing 9-07-2019 1.00 0.00 |Completed
POO96 POST h Dynamics of Domestic Violence 9-07-2019 1.00 0.00 |Completed
P0100 POST k Making the Arrest Decision 9-07-2019 1.00 6.00 |Completed
P0098 POST i Protective Order Registry 9-07-2019 1.00 0.00 |Completed
Poogs POST j Responding to Calls of Domestic Violence 9-07-2019 1.00 0.00 |Completed
00159 Firearms Qualification or Practice (POST Course) C 8-16-2019 1.00 0.00 |Completed

, 00159 Firearms Qualification or Practice (POST Course) C 8-15-2019 1.00 0.00 |Completed
P0093 POST 2019 a Annual Firearms Qualification 8-13-2019 4.00 0.00 |Completed
P0091 POST 2019 b De-Escalation Training 8-12-2019 0.00 0.00 | No Show
00165 Firearms Patrol Rifle/Shotgun Qualification 8-02-2019 0.50 0.00 |No Show
00159 Firearms Qualification or Practice (POST Course) C 8-02-2019 | —*0.00 0.00 |No Show
Poogs3 POST 2019 a Annual Firearms Qualification 8-01-2019 0.00 0.00 |NoShow |
Poog4 POST 2019 d Advanced Firearms 2-14-2019 4.00 0.00 |Completed |
Poog2 POST 2019 ¢ OS Officer Survival Skills 2-13-2019 4.00 0.00 |Completed |

EXHIBIT

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PENGAD 800-631-6969

JPSO 007824
APR 9,2021 Jefferson Parish Sheriff's Office — Page: 2
12:49PM Employee Profile
Pitfield, Chad M. (116210)
P0095 POST 2019 e Ethics 1-27-2019 1.00 0.00 |Completed |
P0001 POST f Preventing Sexual Harassment 1-27-2019 1.00 0,00 | Passed |
2019 Pass/Complete: 25.00
P0080 | POST CPR-First Aid (Classroom) 11-09-2018 4.00 0.00 |Completed |
P0085 POST Gang Related Sex Trafficking - Sexual Assault. [11-09-2018 | —-1.00 0.00 [Completed |
POO77 POST Investigating Sexual Assault 11-09-2018 1.00 0.00 |Completed |
Poos0 POST CPR-First Aid (Classroom) 10-04-2018 0.00 0.00 |No Show
P0080 POST CPR-First Aid (Classraom) 9-04-2018 0.00 0,00 |No Show
00165 Firearms Patrol Rifle/Shotgun Qualification 8-17-2018 0.50 0.00 |Completed
00159 Firearms Qualification or Practice (POST Course) C 8-17-2018 1.00 0.00 |Completed
00163 Firearms Practice (Open Practice) 8-15-2018 0.00 0.00 |NoShow |
P0O80 POST CPR-First Aid (Classroom) 8-13-2018 0.00 0.00 |No Show ~_4
00159 Firearms Qualification or Practice (POST Course) C 8-10-2018 4.00 0.00 |Completed |
POOB3 POST Annual Firearms Qualification 2018 8-02-2018 4.00 0,00 |Completed |
Poo79 POST Ethics 2018 3-28-2018 1.00 0.00 |Completed
P0084 POST Advanced Firearms 2018 2-06-2018 4.00 0.00 |Completed
P0081 POST OS Officer Survival Skills 2018 2-02-2018 4.00 0.00 |Completed
Po030 POST Bloodbome Pathogens (Online) 1-11-2018 1.00 0.00 ‘Passed
P0058 POST First Aid Pre-Req thr (online) Part 1 1-11-2018 4.00 0.00 |Completed
POO66 POST First Aid Pre-Req thr (online) Part 2 4-11-2018 1.00 0.00 |Completed
P0001 POST f Preventing Sexual Harassment 1-11-2018 1.00 0.00 |Passed
2018 Pass/Complete: 25.50
P0058 POST First Aid Pre-Req thr (online) Part 1 12-14-2017 1.00 0.00 |Completed |
POO6S POST Responding to Sexual! Assault 12-14-2017 1.00 0.00 | Completed
00023 TASER Annual Recertification 11-15-2017 2.00 0.00 |Completed
00023 TASER Annual Recertification 10-11-2017 0.00 0.00 |No Show
P0063 POST OS Use of Force FATS Scenarios 9-14-2017 2.00 0.00 | Completed
P0062 POST OS Use of Force Room Entry 9-14-2017 2.00 0.00 | Completed
P0062 POST OS Use of Force Room Entry 9-12-2017 0.00 0.00 |No Show
P0063 POST OS Use of Force FATS Scenarios 9-12-2017 0.00 0.00 |No Show
00023 TASER Annual Recertification 8-16-2017 0.00 0.00 |No Show
P0060 POST First Aid 2hr (classroom) 8-04-2017 2.00 0.00 |Completed
P0061 POST Active Shooter ICS 8-04-2017 2.00 0.00 |Completed
P0055 POST Annual Firearms Qualification 2017 8-01-2017 2.00 0.00 |Completed
00165 Firearms Patrol Rifle/Shotgun Qualification 8-01-2017 1.00 0.00 |Completed
00159 Firearms Qualification or Practice (POST Course) C 8-01-2017 1.00 0.00 |Completed
P0057 |POST Ethics 2017 4-07-2017 1.00 0.00 |Completed
POO66 POST First Aid Pre-Req thr (online) Part 2 4-04-2017 1.00 0.00 |Passed |
P0030 POST Bloodborne Pathogens (Online) 3-24-2017 1.00 0.00 [Passed
PO065 POST Firearms Glock Online 3-24-2017 2.00 | 0.00 |Passed
P0001 POST f Preventing Sexual Harassment | 3-24-2017 1.00 0.00 |Passed
P0056 POST Advanced Firearms 2017 2-10-2017 4.00 0.00 |Completed |
+ ~ 2017 Pass/Complete: 26.00

JPSO 007625
APR 9,2021 Jefferson Parish Sheriff's Office ‘Page: 3
12:49PM Employee Profile ~
Pitfield, Chad M. (116210)
x0149 | Tourniquet Training 12-31-2016 2.00 0.00 |Completed
P0054 | POST Understanding Sexual Assault 12-16-2016 | —«*'1«.00 0.00 |Completed
P0051 POST Firearms Pre-Academy Manual In-Service 2016 | 12-16-2016 1.00 0.00 |Completed
POOS2 POST De-Escalation In-Service Online 12-16-2016 1.00 0.00 {Completed |
PO0048 POST Brady In-Service Training 2016 42-16-2016 1.00 0.00 | Completed
P0030 POST Bloodborne Pathogens (Online) 12-16-2016 1.00 0.00 | Completed
00544 Opioid Overdose and Reversal Training (Narcan) 12-16-2016 3.00 0.00 /Completed |
POO50 POST Firearms In-Service Online 2016 12-16-2016 1.00 0.00 |Passed
00023 TASER Annual Recertification 8-24-2016 4.00 0.00 |Completed
00165 Firearms Patrol Rifle/Shotgun Qualification 8-05-2016 0.50 0.00 |Completed
00159 Firearms Qualification or Practice (POST Course) C 8-05-2016 1.00 0.00 |Completed
00157 POST Annual Firearms Qualification 8-01-2016 2.00 0.00 |Completed
00168 POST CPR/AED Proficiency 8-01-2016 4.00 0.00 |Completed
P0038 POST OS/Use of Force/Active Shooter Scenarios 8-01-2016 4.00 0.00 |Completed
00159 Firearms Qualification or Practice (POST Course) G 8-01-2016 1.00 0.00 |Completed
P0041 POST Ethics 2016 4-08-2016 1.00 0.00 |Completed
P0001 POST f Preventing Sexual Harassment 4-08-2016 1.00 0.00 |Completed
X0037 Laser Safety (Interactive Online Seat) 3-23-2016 0.00 0.00 |Completed
P0039 POST Advanced Firearms 2016 2-12-2016 4.00 | 0.00 |Completed
| 00159 Firearms Qualification or Practice (POST Course) C 1-28-2016 1.00 0.00 |Completed
2016 Pass/Complete: 34.50
P0030 | POST Bloodbome Pathogens (Online) 11-24-2015 1.00 0.00 |Completed
P0029 POST Firearms Trace (Online) 11-24-2015 1.00 0.00 |Completed
P0033 POST Ripp Hobble (Online) 11-24-2015 1.00 0.00 |Completed
00034 Bloodborne Pathogens 10-02-2015 1.00 0.00 |Completed
00023 TASER Annual Recertification 9-02-2015 4.00 0.00 |Completed |
00159 Firearms Qualification or Practice (POST Course) C 8-14-2015 1.00 0.00 |Passed |
00165 Firearms Patrol Rifle/Shotgun Qualification 8-14-2015 0.50 0.00 |Passed
00157 POST Annual Firearms Qualification 8-13-2015 2.00 0.00 |Passed
P0025 POST Active Shooter (2015 Update) 8-13-2015 2.00 0.00 | Completed |
| P0027 POST Ripp Hobble Proficiency 8-11-2015 4.00 0.00 |Completed |
P0026 POST First Aid (2015) 8-10-2015 4.00 0,00 |Completed
X0120 IAl Educational Training Conference 100th 8-08-2015 12.00 0.00 |Completed
00433 LAIAI 70th Educational Conference 6-12-2015 40.00 0.00 |Completed |
00323 Int'l Crime Scene Investigators Assoc. Training 5-21-2015 24.00 0.00 |Completed
00393 Leadership |] Workshop — 3-18-2015 8.00 0.00 [Completed
P0034 POST Advanced Firearms on Range 2015 2-05-2015 4.00 0.00 |Completed
P0031 POST Preventing Sexual Harassment (2015) 1-15-2015 1.00 0.00 [Completed |
P0032 Ethics '15 1-15-2015 1.00 0.00 |Completed
00393 Leadership II Workshop 1-12-2015 0.00 0.00 |No Show
= 2015 Pass/Complete: 111.50
Poo01 POST f Preventing Sexual Fiji’ 12-30-2014 4.00 0.00 \Completed
00443 Tuberculosis Awareness (Interactive Online Seat) 12-30-2014 0.00 0.00 Completed

JPSO 007826
APR 93,2021 Jefferson Parish Sheriff's Office Page: 4
12:49PM Employee Profile
Pitfield, Chad M. (116210)
P0016 POST Crime Scene Preservation/Documentation 12-09-2014 1.00 0.00 |Completed
P0017 POST CPR/AED Online 12-09-2014 1.00 0.00 |Completed
P0019 | POST Firearms Online 2014 12-09-2014 2.00 0.00 |Completed
P0014 POST La. Search/Seizure & Open Carry 42-09-2014 1.00 0.00 |Completed
P0018 POST Crisis Intervention/Active Listening 12-08-2014 71.00 0.00 |Completed
| POO15 POST OS/DT Handcuffing Online 12-08-2014 1.00 0.00 |Completed
00159 Firearms Qualification or Practice (POST Course) C 11-03-2014 71.00 0.00 |instructed
00165 Firearms Patrol Rifle/Shotgun Qualification 11-03-2014 0.50 0.00 |Passed
00214 Bloodborne Pathogens 10-22-2014 0.00 0.00 |Compieted
00169 POST Active Shooter (2014 update) 8-18-2074 2.00 0.00 | Completed
00168 POST CPR/AED Proficiency 8-18-2014 1.00 0.00 | Completed
00167 POST OS/Use of Force-Less Lethal/TASER 8-18-2014 1.00 0.00 |Completed
00157 POST Annual Firearms Qualification 8-05-2014 2,00 0.00 |Passed
00166 POST OS/Use of Force- MDTS/MEB Proficiency 8-04-2014 2.00 0.00 |Completed
00157 POST Annual Firearms Qualification 8-04-2014 2.00 0.00 |Passed
00329 LAIAI Educational Conference 6-11-2014 24.00 0.00 | Completed
00323 Int'l Crime Scene Investigators Assoc. Training 5-15-2014 24.00 0.00 | Completed
00023 TASER Annual Recertification 5-09-2014 4.00 0.00 | Completed
0156 TASER Transition to X26P/Use of Force 5-09-2014 2.00 0.00 | Completed
00173 Ethics 14 4-22-2014 1.00 0.00 | Completed
00158 POST Advanced Firearms on Range 2014 2-07-2014 4.00 0.00 | Completed
00280 FLETC RECVR Video Recovery Schaol 4-17-2014 40.00 0.00 |Completed |
2014 Pass/Complete: 117.50 Instructed: 1.00
Poo01 POST f Preventing Sexual Harassment 12-02-2013 1.00 0.00 |Completed |
00022 Weapon Manipulation 8-20-2013 0.00 0.00 |Passed
00024 USE OF FORCE 3-20-2013 0.00 0.00 |Passed
00103 Gym/Wellness 3-20-2013 0.00 0.00 |Passed
00105 Ethics 13 ane 2-19-2013 0.00 0.00 |Passed
2013 Pass/Complete: 1.00
00107 Leadership Workshop 7-31-2012 0.00 0.00 | Passed
00106 Leadership 1 Modules 6-25-2012 0.00 0.00 |Passed
00104 Ethics ‘12 3-29-2012 0.00 0.00 |Passed
2012 Pass/Complete: 0.00
| 00081 CRISIS INTERVENTION JPSO 5-26-2011 40.00 0.00 | Passed
| 00032 CPR/AED 5-04-2011 0.00 0.00 |Passed
00035 Res-Cue Mask Issue §-04-2011 0.00 0.00 |Passed
o0050 Defensive Driving 2-18-2011 0.00 0.00 | Passed
2011 Pass/Complete: 40.00
00028 PX-Holster 7-22-2008 0.00 0.00 Passed
00025 Diversity 7-09-2008 | 0.00 0.00 |Passed
2008 Pass/Complete:' 0.00

JPSO 007827
APR 9,2021 Jefferson Parish Shetiff's Office Page: 5
12:49PM Employee Profile
Pitfield, Chad M. (116210)
| 00005 Ripp Hobble 9-20-2007 0.00 0.00 |Passed
| 00006 oc 9-20-2007 0.00 0.00 | Passed
00009 Racial Profiling 9-20-2007 0.00 0.00 |Passed
00016 MEB 9-20-2007 0.00 0.00 |Passed
00002 TASER User Certification Class 4-19-2007 6.00 0.00 |Passed
2007 Pass/Complete: 6.00
Total Pass/Complete: 418.00 Instructed: 1.00

JPSO 007828

APR 9,2021 _eftorenn Parish. Sheiff's. Gf Page: 1
Vaught, Ryan C. (118093)
| Training
Course Title Date Hours Score Status
P0127 POST i Social Media 2021 3-01-2021 | 1.00 0.00 |Passed
P0124 POST 2021 e Ethics 2-03-2021 1,00 0.00 |Passed
P0126 POST h Responding to Active and Evolving Scenes 1-07-2021 1.00 0.00 |Passed
P0001 POST f Preventing Sexual Harassment 4-07-2021 1.00 0,00 | Passed
FPO125 POST g Legal Updates and Department Vehicle 1-07-2021 1.00 0.00 | Passed
2021 Pass/Complete: 5.00
| P0105 POST 2020 d Advanced Firearms 12-30-2020 4.00 0.00 | Completed
P0105 POST 2020 d Advanced Firearms 12-29-2020 0.00 0.00 |No Show
P0103 POST 2020 c Officer Survival Active Shooter 12-15-2020 0.00 0.00 |No Show
P0109 POST 2020 c Officer Survival Active Shooter 12-10-2020 4.00 0.00 |Completed
P0105 POST 2020 d Advanced Firearms 12-01-2020 0.00 0.00 |No Show
P0108 POST 2020 b CPR Defensive Tactics 8-17-2020 4,00 0.00 |Campleted
P0111 POST g 2020 CPR On-Line 6-30-2020 1.00 0.00 |Completed
PO112 POST h 2020 First Aid Pt1 On-line 6-30-2020 1.00 0.00 | Completed
P0113 POST i 2020 First Aid Pt2 On-line 6-30-2020 1.00 | 0.00 |Completed
P0108 POST 2020 b CPR Defensive Tactics 6-03-2020 0.00 0.00 |PreReq
P0104 POST 2020 a Annual Firearms Qualification 6-02-2020 4.00 0.00 |Completed
P0114 POST j 2020 Social Media 1-31-2020 1.00 0.00 |Completed
P0001 POST f Preventing Sexual Harassment 1-31-2020 1.00 0.00 |Completed
P0110 POST 2020 e Ethics 4-31-2020 1.00 0.00 |Completed
2020 Pass/Complete: 22.00
Poog2 POST 2019 c OS Officer Survival Skills 12-02-2019 4.00 0.00 |Completed
P0094 POST 2019 d Advanced Firearms 12-02-2019 4.00 0.00 |Completed
Paggs POST 2019 a Annual Firearms Qualification 6-13-2019 4.00 0.00 | Completed
P0091 POST 2019 b De-Escalation Training 6-06-2019 4.00 0.00 |Completed
00050 Defensive Driving 4-25-2019 4.00 0.00 |Completed
| POO9S POST j Responding to Calls of Domestic Violence 2-19-2019 1.00 0.00 |Completed
; PO101 POST | Communicating with Deaf or Hard of Hearing 2-19-2019 1.00 0.00 |Completed
P0098 POST i Protective Order Registry 2-18-2019 1.00 0.00 |Completed
X0563 First Responders Miminal Facts and the MDT Process 2-13-2019 3.00 0.00 | Completed
P0001 POST f Preventing Sexual Harassment 2-11-2019 1.00 0.00 |Passed
P0096 POST h Dynamics of Domestic Violence 2-11-2019 1.00 0.00 |Completed
PO100 POST k Making the Arrest Decision 2-11-2019 1.00 0.00 | Completed
| POOSS POST 2019 e Ethics | 1-10-2019 1.00 0.00 |Completed
2019 Pass/Complete: 30.00
P0081 POST OS Officer Survival Skills 2018 12-13-2018 4.00 0.00 |Completed
P0084 POST Advanced Firearms 2018 12-04-2018 4.00 0.00 |Completed
00023 TASER Annual Recertification 6-27-2018 2.00 0,00 |Completed
P0080 POST CPR-First Aid (Classroom) 6-08-2018 4.00 0.00 |Completed
| P0083 POST Annual Firearms Qualification 2018 6-05-2018 4.00 0.00 |Completed

JPSO 007845

APR 9,2021 Jefferson Parish Sheriff's Office Page: 2

12:51PM _. Employee Profile -
Vaught, Ryan C. (118093)
P0030 POST Bloodborne Pathogens (Online) 3-29-2018 1.00 0.00 |Passed |
P0058 ‘| POST First Aid Pre-Reg 1hr (online) Part 1 3-29-2018 1.00 0.00 |Completed |
POO66 POST First Aid Pre-Reg 1hr (online) Part 2 3-29-2018 4.00 0.00 |Completed
P0085 POST Gang Related Sex Trafficking - Sexual Assault 3-29-2018 1.00 0.00 |Completed
Poo?7 POST Investigating Sexual Assault 3-29-2018 1.00 0.00 |Completed
PoO68 POST Responding to Sexual Assault 3-29-2018 1.00, 0.00 |Completed
P0054 POST Understanding Sexual Assault 3-29-2018 1.00 0.00 |Completed |
Poo79 POST Ethics 2018 1-08-2018 1.00 0.00 |Completed |
P0001 POST f Preventing Sexual Harassment | 1-08-2018 1.00 0.00 |Passed |

2018 Pass/Complete: 27.00
Poos6 POST Advanced Firearms 2017 12-14-2017 4.00 0.00 | Completed |
0403 Successful Interview Techniques 7-26-2017 20.00 0.00 |Completed |
00023 TASER Annual Recertification 6-14-2017 2.00 0.00 |Completed
POO68 POST Responding to Sexual Assault 6-12-2017 1.00 0.00 |Completed
P0055 POST Annual Firearms Qualification 2017 6-08-2017 2.00 0.00 |Completed
POO62 POST OS Use of Force Room Entry 6-08-2017 2.00 0.00 | Completed
P0063 POST OS Use of Force FATS Scenarios 6-08-2017 2.00 0.00 |Completed
POO6O POST First Aid 2hr (classroom) 6-08-2017 2.00 0.00 |Completed
P0061 POST Active Shooter ICS - 6-08-2017 2.00 0.00 |Completed
P0058 POST First Aid Pre-Req 1hr (online) Part 1 1-20-2017 1.00 | 100.00 |Passed
P0066 POST First Aid Pre-Reg thr (online) Part 2 1-20-2017 1.00 | 100.00 |Passed
P0001 POST f Preventing Sexual Harassment 1-09-2017 | 1.00 [100.00 (Passed
P0030 POST Bloodborne Pathogens (Online) 1-09-2017 1.00 | 7100.00 [Passed |
POO65S POST Firearms Glock Online 1-09-2017 2.00 | 100.00 |Passed |
P0057? POST Ethics 2017 1-06-2017 1.00 0.00 |Completed |
2017 Pass/Complete: 44.00

xo149 Toumiquet Training 12-31-2016 2.00 0.00 |Completed
P0051 POST Firearms Pre-Academy Manual In-Service 2016 | 12-14-2016 1,00 0.00 |Completed
P0039 POST Advanced Firearms 2016 12-08-2016 4.00 0.00 |Completed
00544 Opioid Overdose and Reversal Training (Narcan) 11-09-2016 3.00 0.00 |Completed
00168 POST CPR/AED Proficiency 10-13-2016 4.00 0.00 |Completed
00157 POST Annual Firearms Qualification 10-13-2016 2.00 0.00 |Completed
P0038 POST OS/Use of Force/Active Shooter Scenarios 10-03-2016 4.00 0.00 | Completed
P0030 POST Bloodborne Pathogens (Online) 9-21-2016 1.00 0.00 |Passed
P0052 POST De-Escalation In-Service Online 9-21-2016 1,00 0.00 |Passed
P0050 POST Firearms In-Service Online 2016 9-21-2016 1.00 0.00 |Passed
P0001 POST f Preventing Sexual Harassment 9-21-2016 1.00 0.00 |Passed
00023 TASER Annual Recertification 9-21-2016 4,00 0.00 |Completed
0156 TASER Transition ta X26P/Use of Force 9-21-2016 2.00 0.00 {Completed
00509 Off Duty Detail Policy 9-20-2016 1.00 0.00 |Completed
00008 Racial Profiling 9-20-2016 1.00 0.00 |Completed
00015 MDTS - Use of Force 9-20-2016 4.00 0.00 |Completed |
00005 RippHobble 9-20-2016 4.00 0.00 {Completed |

JPSO 007646
APR 9.2021 Jefferson Parish Sheriff's Office Page: 3
12:51PM fei Employee Profile —
Vaught, Ryan C, (118093)
| 00016 MEB 9-20-2016 4.00 0.00 | Completed
00034 Bloodborne Pathogens 9-20-2016 1,00 0.00 | Completed
P0048 POST Brady In-Service Training 2016 9-20-2016 4.00 0.00 |Passed
00372 Firearms Glock Transition 9-20-2016 4,00 0.00 |Completed
00191 LLETS Inquiry Only Operator Certification 8-07-2016 0.00 0.00 |Completed
00108 NIMS - Unit 100 2-27-2016 4.00 0.00 |Completed
2016 Pass/Complete: 54.00
| 00002 | TASER User Certification Class [12-19-2008 | 8.00 _| 0.00 |Completed
2008 Pass/Complete: 8.00
Total Pass/Complete: 190.00

JPSO 007847

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APR, 9,2021 - _ Jefferson Parish Sheriff's Office Page 1
Mehrtens, Steven A. (118099)
| Training
Course Title Date Hours Score Status
| P0127 POST i Social Media 2021 3-05-2021 1.00 0.00 |Passed
P0124 POST 2021 e Ethics 3-04-2021 1.00 0.00 | Passed
P0125 POST g Legal Updates and Department Vehicle 3-04-2021 1.00 0.00 |Passed
P0126 POST h Responding to Active and Evolving Scenes 3-04-2021 1.00 0.00 [Passed
P0001 POST f Preventing Sexual Harassment | 2-09-2021 1.00 0.00 | Passed
2021 Pass/Complete: 5.00
P0104 POST 2020 a Annual Firearms Qualification 12-10-2020 4.00 0.00 | Completed
P0114 POST g 2020 CPR On-Line 11-30-2020 1.00 0.00 |Completed
P0112 POST h 2020 First Aid Pt1 On-line 11-30-2020 1.00 0.00 |Completed
P0113 POST i 2020 First Aid Pt2 On-line 11-30-2020 1.00 0.00 | Completed
P0108 POST 2020 b CPR Defensive Tactics 11-17-2020 4.00 0.00 |Completed
00050 Defensive Driving 10-22-2020 4.00 0.00 |Completed
P0105 POST 2020 d Advanced Firearms 8-13-2020 4.00 0.00 |Completed
P0105 POST 2020 d Advanced Firearms 6-08-2020 0.00 0.00 |No Show
P0109 POST 2020 c Officer Survival Active Shooter 5-13-2020 4.00 0.00 |Completed
P0110 POST 2020 e Ethics 3-31-2020 1.00 0.00 |Completed
P0114 POST j 2020 Social Media 3-31-2020 1.00 0.00 |Completed
P0001 POST f Preventing Sexual Harassment 3-31-2020 1.00 0.00 |Completed
| 00556 Stop Stick Training 3-13-2020 2.00 0.00 | Completed
2020 Pass/Complete: 28.00

00518 Dynamic Warrant Service Training 12-20-2019 40.00 0.00 | Completed
00519 DWST Block 1 Warrant Planning 12-20-2019 0.00 0,00 | Passed
00520 DWST Block 2 Pattems of Movement 12-20-2019 0.00 0.00 | Passed
00521 DWST Block 3 Hall Boss with Shield 12-20-2019 0.00 0.00 | Passed
00522 DWST Block 4 Stairs 12-20-2019 0.00 0.00 |Passed
00523 | DWST Block 5 Hall Boss without Shield 12-20-2019 0.00 0.00 |Passed
00524 | DWST Block 6 Mechanical Ram Breaching 12-20-2019 0.00 0.00 | Passed
00525 DWST Block 7 Mechanical Pick Breaching 12-20-2019 0.00 0.00 |Passed
00526 DWST Block 8 Window with Shield Porting 12-20-2019 0.00 0.00 |Passed
00527 DWST Block 9 Shield Shooting 12-20-2019 0.00 0.00 |Passed
00528 DWST Block 10 Stacking Order 12-20-2019 0.00 0.00 |Completed
00529 DWST Block 11 Downed Officer Recovery 12-20-2019 0.00 0.00 | Completed
00530 DWST Block 12 FTX 12-20-2019 0.00 0.00 |Completed
P0091 POST 2019 b De-Esealation Training 11-21-2019 4.00 0.00 |Completed
P00s1 POST 2019 b De-Escalation Training 41-14-2019 0.00 0.00 |No Show
P0093 POST 2019 a Annual Firearms Qualification 11-04-2019 4.00 0.00 | Completed
Poos4 POST 2019 d Advanced Firearms 5-14-2019 4.00 0.00 | Completed
Po0s4 POST 2019 d Advanced Firearms 5-09-2019 0.00 0.00 |No Show
P00S2 POST 2019 c OS Officer Survival Skills 5-02-2019 4.00 0.00 | Completed
P0096 POST h Dynamics of Domestic Violence 3-30-2019 1.00 | 0.00 | Completed

EXHIBIT

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JPSO 007854

APR 9,2021 Jefferson Parish Sheiiff's Office Page: 2
12:52PM Employee Profile -
Mehrtens, Steven A. (118099)
P0098 POST i Protective Order Registry | 3-30-2019 4.00 0.00 |Completed
Poogs POST j Responding to Calls of Domestic Violence | 3-30-2019 1.00 0,00 |Completed
P0100 POST k Making the Arrest Decision 3-30-2019 1.00 0.00 |Completed
P0101 POST | Communicating with Deaf or Hard of Hearing 3-30-2019 1.00 0.00 |Completed
P0001 POST f Preventing Sexual Harassment 2-25-2019 1.00 0.00 |Passed
Poogs POST 2019 e Ethics 2-21-2019 1.00 0.00 |Completed
2019 Pass/Complete: 63.00
| P0030 POST Bloodborne Pathogens (Online) 12-18-2018 1.00 0.00 |Completed
P0058 POST First Aid Pre-Req thr (online) Part 1 12-18-2018 1.00 0.00 |Completed
POOG6 POST First Aid Pre-Reg thr (online) Part 2 12-18-2018 1.00 0.00 |Completed
POO77 POST Investigating Sexual Assault 12-18-2018 1.00 0.00 |Completed
Poo85 |POST Gang Related Sex Trafficking - Sexual Assault 12-18-2018 1.00 0.00 (Completed
P0083 | POST Annual Firearms Qualification 2018 11-20-2018 4.00 0.00 |Completed
00023 ) TASER Annual Recertification 11-14-2018 2.00 0.00 |Completed
P0081 POST OS Officer Survival Skills 2018 11-07-2018 4.00 0.00 |Completed
POO8O POST CPR-First Aid (Classroom) 11-05-2018 4.00 0.00 |Completed
P0081 POST OS Officer Survival Skills 2018 7-05-2018 0.00 0.00 |No Show
P0081 POST OS Officer Survival Skills 2078 6-12-2018 0.00 0.00 )No Show
00027 .FTO Certification 5-17-2018 24.00 0.00 |Completed
P0084 |POST Advanced Firearms 2018 5-08-2018 4.00 0.00 |Completed
P0001 POST f Preventing Sexual Harassment 3-04-2018 1.00 0.00 |Passed
Poo79 POST Ethics 2018 3-03-2018 1.00 0.00 | Completed
2018 Pass/Complete: 49.00
00542 | Mobile Field Force 42-28-2017 8.00 0.00 |Completed
00023 TASER Annual Recertification 11-08-2017 2.00 0.00 |Completed
POO6O POST First Aid 2hr (classroom) 11-07-2017 2.00 0,00 |Completed
P0061 ~—S—| POST Active Shooter ICS 11-07-2017 2.00 0.00 |Completed
Poo63 POST OS Use of Force FATS Scenarios 11-07-2017 2.00 0.00 |Completed
POOG2 POST OS Use of Force Room Entry 11-07-2017 2,00 0.00 |Completed
P0058  _—| POST First Aid Pre-Req 1hr (online) Part 1 11-07-2017 7.00 0.00 |Passed
POO66 POST First Aid Pre-Req thr (online) Part 2 11-07-2017 1.00 0.00 |Passed
P0055 POST Annual Firearms Qualification 2017 11-06-2017 2.00 0.00 | Completed
007159 Firearms Qualification or Practice (POST Course) C 41-06-2017 1.00 0.00 |Completed
POO68 POST Responding to Sexual Assault 10-21-2017 1,00 0.00 |Completed
POO56 POST Advanced Firearms 2017 9-12-2017 4.00 0.00 |Completed
POO6S5 POST Firearms Glock Online 3-09-2017 2.00 0.00 |Passed
P0030 POST Bloodborne Pathogens (Online) 3-08-2017 1.00 0.00 |Passed
P00s? POST Ethics 2017 1-11-2017 1.00 0.00 |Completed
PoO01 POST f Preventing Sexual Harassment 1-11-2017 1.00 | 100.00 |Passed
2017 Pass/Complete: 33.00
x0149 Tourniquet Training 12-31-2016 2.00 0.00 |Completed
P0054 POST Understanding Sexual Assault 12-19-2016 1.00 0.00 /Completed
00081 CRISIS INTERVENTION JPSO 12-16-2016 40.00 0.00 |Completed

JPSO 007852

Page: 3 |

APR 9,2021_ Jefferson Parish Sheriff's Office
12:52PM Employee Profile —
Mehrtens, Steven A. (118099)
P0052 POST De-Escalation In-Service Online 42-10-2016 1.00 0.00 |Passed
POOSO POST Firearms In-Service Online 2016 42-10-2016 1.00 0.00 |Passed
POOS1 POST Firearms Pre-Academy Manual In-Service 2016 | 12-10-2016 1.00 0.00 |Passed
P0030 POST Bloodborne Pathogens (Online) 12-09-2016 1.00 0.00 |Passed
P0048 POST Brady In-Service Training 2016 12-09-2016 1.00 0.00 |Passed
P0001 POST f Preventing Sexual Harassment 11-28-2016 1.00 0.00 |Passed
P0041 ~—«—| POST Ethics 2076 11-17-2016 1.00 0.00 |Completed
00544 Opioid Overdose and Reversal Training (Narcan) 11-09-2016 3.00 0.00 |Completed
00157 POST Annual Firearms Qualification 11-07-2016 2.00 0.00 |Completed
P0038 POST OS/Use of Force/Active Shooter Scenarios 11-07-2016 4.00 0.00 |Completed
00168 POST CPR/AED Proficiency 11-07-2016 4.00 0.00 ‘Completed —
P0039 POST Advanced Firearms 2016 11-03-2016 4.00 0.00 | Completed
00023 TASER Annual Recertification 10-05-2016 4,00 0.00 | Completed
0156 TASER Transition to X26P/Use of Force 10-05-2016 2.00 0.00 | Completed
00159 Firearms Qualification or Practice (POST Course) C 10-04-2016 1.00 0.00 |Completed
00372 Firearms Glock Transition = 10-04-2016 4.00 0.00 |Completed
00509 Off Duty Detail Policy 10-04-2016 1.00 0.00 |Completed
00009 Racial Profiling 10-04-2016 1.00 0.00 |Completed
) 00015 MDTS - Use of Force 10-04-2016 4.00 0.00 |Completed
00016 MEB 10-04-2016 8.00 0.00 |Completed
00005 Ripp Hobble 10-04-2016 4.00 0.00 | Completed
00007 OC Sabre 10-04-2016 4.00 0.00 |Completed
2016 Pass/Complete: 100.00
Total Pass/Complete: 278.00

JPSO 007853
Tareas
12:54PM

Vega, Nicholas J. (114402)

| Tralning
Course Title Date Hours Score Status
00596 | Introduction to Detective Protocols 3-31-2021 6.00 0.00 |Completed
P0127 | POST i Social Media 2021 3-30-2021 1.00 0.00 | Completed
P0124 | POST 2021 e Ethics 3-16-2021 1.00 0.00 |Passed
07000 Firearms Patrol Rifle Advanced 2-22-2021 4.00 0.00 |Completed
00165 | Firearms Patrol Rifle/Shotgun Qualification 2-05-2021 0.50 0.00 |Completed
P0120 | POST 2021 a Annual Firearms Qualification 2-02-2021 4.00 0.00 |Completed
P0121 | POST 2021 b Intermediate Weapon Transition & Drill 2-02-2021 4.00 0.00 |Completed
P0126 ! POST h Responding to Active and Evolving Scenes 1-07-2021 1.00 0.00 |Passed
P0001 , POST f Preventing Sexual Harassment 1-06-2021 1.00 0.00 |Passed
P0125 POST g Legal Updates and Department Vehicle 1-06-2021 1.00 0.00 |Passed

2021 Pass/Complete: 23.50
X0724 | OSForensics Triage Certification 11-18-2020 16.00 0.00 | Completed
P0105 | POST 2020 d Advanced Firearms 8-13-2020 4.00 0.00 | Completed
P0109 | POST 2020 c Officer Survival Active Shooter 8-10-2020 4.00 0.00 | Completed
01000 ) Firearms Patrol Rifle Advanced 7-28-2020 4.00 0.00 |Completed
00165 Firearms Patrol Rifle/Shotgun Qualification 2-14-2020 0.50 0.00 |Completed
P0104 | POST 2020 a Annual Firearms Qualification 2-06-2020 4.00 0.00 | Completed
P0108 | POST 2020 b CPR Defensive Tactics 2-06-2020 4.00 0.00 | Completed
00023 TASER Annual Recertification 2-05-2020 2.00 0.00 |Completed
P0001 POST f Preventing Sexual Harassment 1-31-2020 1.00 0.00 |Completed
P0111 POST g 2020 CPR On-Line 1-31-2020 1.00 0.00 |Completed
P0112 POST h 2020 First Aid Pti On-line 1-31-2020 1.00 0.00 |Completed
P0113 POST 1 2020 First Aid P@ On-line 1-31-2020 | —‘1.00 0.00 | Completed
P0114 POST j 2020 Social Media 1-31-2020 1.00 0.00 |Completed
P0110 | POST 2020 e Ethics 1-03-2020 1.00 0.00 | Completed
2020 Pass/Complete: 44.50

00027 FTO Certification 9-12-2019 24,00 |: 0.00 | Completed
01000 Firearms Patrol Rifle Advanced 8-27-2019 4.00 0.00 |Completed
P0092 | POST 2019 c OS Officer Survival Skills 8-13-2019 4.00 0.00 | Completed
Po09s4 | POST 2019 d Advanced Firearms 8-13-2019 4.00 0.00 |Completed
00023 | TASER Annual Recertification 7-10-2019 2.00 0.00 | Completed
Poog3 POST 2019 a Annual Firearms Qualification 2-12-2019 4.00 0.00 |Completed
Poo31 POST 2019 b De-Escalation Training 2-12-2019 4.00 0.00 /Completed
P0096 POST h Dynamics of Domestic Violence 2-11-2019 1.00 0.00 |Completed

| POOS8 | POST i Protective Order Registry 2-11-2019 1.00 0.00 |Completed
P0099 | POST j Responding to Calls of Domestic Violence 2-11-2019 1.00 0,00 |Completed
P0100 POST k Making the Arrest Decision 2-11-2019 1,00 0.00 |Campleted
P0101 ‘POST | Communicating with Deaf or Hard of Hearing 2-11-2019 1.00 0.00 |Completed
00165 Firearms Patrol Rifle/Shotgun Qualification | 2-01-2019 | 0.50 0.00 |Completed
P0095 | POST 2019 e Ethics 1-03-2019 | 1,00 0.00 | Completed

EXHIBIT
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PENGAD 800-631-0388

JPSO 007840

APR 9,2021 Jefferson Parish Sheriff's Office. Page: 2
12:54PM Employee Profile -
Vega, Nicholas J. (114402)
| POOO1 | POST f Preventing Sexual Harassment | 1-02-2019 1.00 | 0.00 |Passed |
2019 Pass/Complete: 53.50
P0081 i POST OS Officer Survival Skills 2018 | 8-02-2018 4.00 0.00 {Completed |
P0084 POST Advanced Firearms 2018 | 8-02-2018 4.00 0.00 | Completed
, 00165 ' Firearms Patrol Rifle/Shotgun Qualification | 2-16-2018 0.50 0.00 | Completed
| POO83 POST Annual Firearms Qualification 2018 2-15-2018 4.00 0.00 | Completed
Poo80 POST CPR-First Aid (Classroom) 2-15-2018 4.00 0.00 |Completed
00023 , TASER Annual Recertification , 2-14-2018 2.00 0.00 |Completed
POO7? POST Investigating Sexual Assault _ 2-12-2018 1.00 0.00 |Completed
P0085 _ POST Gang Related Sex Trafficking - Sexual Assault 2-12-2018 1.00 0,00 |Completed |
| POO68 ; POST Responding to Sexual Assault t 2-12-2018 1.00 0.00 | Completed
| POO54 | POST Understanding Sexual Assault | 2-12-2018 1.00 0.00 |Completed —
POO58 | POST First Aid Pre-Req ‘thr (online) Part 1 | 4-05-2018 1.00 0.00 |Completed |
POOG6 | POST First Aid Pre-Req thr (online) Part 2 | 1-05-2018 1.00 0.00 |Completed
P0079 : POST Ethics 2018 | 1-03-2018 1.00 0.00 {Completed
P0030 | POST Bloodborne Pathogens (Online) 1-03-2018 1.00 0.00 |Passed |
P0001 | POST f Preventing Sexual Harassment 1-03-2018 1.00 0.00 |Passed |
2018 Pass/Complete: 27.50
} P0068 | POST Responding to Sexual Assault | 12-04-2017 1.00 0.00 |Completed |
' 00176 | Basic Police Motorcycle Continuous Training ' 11-08-2017 8.00 0.00 |Completed
POO56 | POST Advanced Firearms 2017 | 8-01-2017 4,00 0.00 | Completed
00561 Dynamic Warrant Service Training Low Light | 2-23-2017 8.00 0.00 |Gompleted
POO6O | POST First Aid 2hr (classroom) "= he 2-03-2017 2.00 0.00 |Completed
| POO61 | POST Active Shooter ICS ; 2-03-2017 2.00 0.00 |Campleted
, POO55 POST Annual Firearms Qualification 2017 2-02-2017 2.00 0.00 |Completed
P0062 POST OS Use of Force Room Entry ; 2-02-2017 2.00 0.00 |Completed
P0063 : POST OS Use of Force FATS Scenarios | 2-02-2017 2.00 0.00 |Completed
007165 | Firearms Patrol Rifle/Shotgun Qualification 2-02-2017 0.50 0.00 |Completed
00023 | TASER Annual Recertification 2-01-2017 2.00 0.00 |Completed
P0030 | POST Bloodborne Pathogens (Online) | 1-18-2017 7.00 | 100.00 |Passed
Poos8 | POST First Aid Pre-Req ihr (online) Part 1 | 4-18-2017 1.00 | 100.00 |/Passed
POO65 | POST Firearms Glock Online 1-18-2017 2.00 | 100.00 |Passed
POO66 j| POST First Aid Pre-Reg ‘hr (online) Part 2 1-18-2017 1,00 | 100.00 |Passed
P0001 POST f Preventing Sexual Harassment | 1-11-2017 1.00 | 100.00 |Passed
| POOS7 | POST Ethics 2017 | 1-05-2017 1.00 0.00 |Completed
00487 ; Courtroom Testimony Seminar | 1-04-2017 0.00 | . 0.00 |No Show
2017 Pass/Complete: 40.50
x0149 | Tourniquet Training ! 42-31-2016 2.00 0.00 |Completed |
00544 | Opioid Overdose and Reversal Training (Narcan) 11-09-2016 3.00 0.00 |Completed |
00176 . Basic Police Motorcycle Continuous Training , 10-06-2016 8.00 0.00 | Completed
00165 _ Firearms Patrol Rifle/Shotgun Qualification 9-20-2016 2.00 0.00 Completed |
00518 , Dynamic Warrant Service Training 9-02-2016 40,00 0.00 [Completed |
00519 DWST Block 1 Warrant Planning | 9-02-2016 0.00 0.00 |Completed |

JPSO 007841
12:54PM

APR 9,2021

Employee Profile .

Jefferson Parish Sheriff's Office

Vega, Nicholas J. (114402)

00520 DWST Block 2 Patterns of Movement | 9-02-2016 0.00 0.00 |Completed |
"00521 DWST Block 3 Hall Boss with Shield 9-02-2016 0.00 0.00 |[Campleted |
00522 DWST Block 4 Stairs 9-02-2016 0.00 0.00 |Completed
"00523 DWST Block 5 Hall Boss without Shield 9-02-2016 | 0.00 0.00 |Completed
00524 | DWST Block 6 Mechanical Ram Breaching 9-02-2016 0.00 0.00 [Completed |
00525 | DWST Block 7 Mechanical Pick Breaching 9-02-2016 0.00 0.00 |Completed |
00526 | DWST Block 8 Window with Shield Porting 9-02-2016 0.00 0.00 | Completed |
‘00527 | DWST Block 9 Shield Shooting 9-02-2016 0.00 0.00 | Passed |
00528 DWST Block 10 Stacking Order 9-02-2016 0.00 0.00 [Completed |
00529 DWST Block 11 Downed Officer Recovery 9-02-2016 0.00 0.00 |Completed |
: 00530 DWST Block 12 FTX 9-02-2016 0.00 0.00 |Completed |
PoO54 POST Understanding Sexual Assault 8-15-2016 1.00 0.00 [Completed |
| X0256 Crimes Against Children Conference 8-11-2016 20.00 0.00 |Completed
, P0039 | POST Advanced Firearms 2016 8-04-2016 4.00 0.00 |Completed
| P0030 ; POST Bloodborne Pathogens (Online) 6-08-2016 1.00 0.00 | Completed
P0052 POST De-Escalation In-Service Online 6-08-2016 7.00 | 100.00 |Passed
| P0048 POST Brady In-Service Training 2016 6-08-2016 1.00 | 100.00 |Passed
P0051 POST Firearms Pre-Academy Manual In-Service 2016 6-08-2016 1.00 | 100.00 |Passed
Poosd POST Firearms In-Service Online 2016 6-08-2016 1.00 | 100.00 |Passed |
| 00157 POST Annual Firearms Qualification 2-18-2016 2.00 0.00 |Completed —
P0038 POST OS/Use of Force/Active Shooter Scenarios 2-18-2016 4.00 0.00 |Completed
00168 | POST CPR/AED Proficiency 2-18-2016 4.00 0.00 |Completed |
| 00159 | Firearms Qualification or Practice (POST Course) C 2-18-2016 1.00 0.00 |Completed |
| 00165 — | Firearms Patrol Rifle/Shotgun Qualification 2-18-2016 0.50 0.00 |Completed |
, 00023 | TASER Annual Recertification 2-17-2016 4,00 0.00 [Completed |
00165 | Firearms Patrol Rifle/Shotgun Qualification 2-11-2016 0.00 0,00 [Na Show |
X0209 Oxygen Forensic Basic User Certification 2-02-2016 0.00 0.00 |Completed |
P0001 | POST f Preventing Sexual Harassment 4-08-2016 1.00 0.00 |Completed |
P0041 POST Ethics 2016 — 1-08-2016 1.00 0.00 [Completed |
2016 Pass/Complete: 102.50
| 00176 | Basic Police Motorcycle Continuous Training 11-05-2015 8.00 0.00 |Completed |
00081 CRISIS INTERVENTION JPSO — 40-23-2015 40.00 0.00 |Completed |
00023 TASER Annual Recertification 9-23-2015 4.00 0.00 [Completed |
P0034 POST Advanced Firearms on Range 2015 9-15-2015 4.00 0.00 |Completed |
0104 Dallas Crimes Against Children 27th Annual 8-13-2015 32.00 0.00 |Completed |
P0029 | POST Firearms Trace (Online) 7-31-2015 1,00 0.00 |Completed '
P0030 | POST Bloodborne Pathogens (Online) 7-31-2015 1.00 0.00 |Completed |
| P0033 POST Ripp Hobble (Online) 7-31-2015 1.00 0.00 |Completed |
| 00486 | Trafficking in Persons Workshop for Law Enforcemen 3-10-2015 16.00 0.00 |Completed |
| P0026 [FOST First Aid (2015) 3-03-2015 4.00 0.00 |Completed |
, 00023 | TASER Annual Recertification 2-16-2015 4.00 0.00 |Campleted |
0156 | TASER Transitioh to X26P/Use of Force | 2-16-2015 2.00 || 0.00 |Completed |
00475 Undercover Operations and Training 1 2 2-12-2015 32.00 '| 0.00 |Completed |
| 00481 , CAC Specialized Training | 2-12-2015 12.00 0.00 |Completed

JPSO 007842
APR 9,2021 Jefferson Parish Sheriff's Office Page: 4 |
12:54PM ‘Employee Profile _. |
Vega, Nicholas J. (114402)
00165 Firearms Patrol Rifle/Shotgun Qualification 2-03-2015 0.50 0.00 |Passed
00759 Firearms Qualification or Practice (POST Course) C 2-03-2015 7.00 0.00 |Passed |
00157 POST Annual Firearms Qualification 2-02-2015 2.00 0.00 |Passed
; P0025 POST Active Shooter (2015 Update) 2-02-2015 2.00 0.00 |Completed 1
P0027 POST Ripp Hobble Proficiency 2-02-2015 4.00 0.00 |Completed |
: P0031 POST Preventing Sexual Harassment (2015) 1-07-2015 1.00 0.00 |Completed |
| P0032 Ethics '15 1-05-2015 1.00 0.00 |Completed |
2015 Pass/Complete: 172.50
00239 JPSO Motorcycle Recertification 12-18-2014 8.00 0.00 |Completed |
00426 Demonstration/Unlawful Assembly Training 12-04-2014 8.00 0.00 [Completed |
| 00107 Leadership Workshop 10-27-2014 8.00 0.00 |Completed |
, 00355 Dallas Crimes Against Children Conference 8-14-2014 19.50 0.00 |Completed |
| 00158 POST Advanced Firearms on Range 2014 8-08-2014 4.00 0.00 |Completed |
| 00106 Leadership 1 Modules 6-11-2014 16.00 0.00 |Completed |
007130 NAPD Recertification 5-28-2014 5.00 0.00 |Completed |
00195 Marine - Class A Urban Search and Rescue Vessel 5-01-2014 3,00 0.00 [Completed |
00167 POST OS/Use of Force-Less Lethal/TASER 2-17-2014 1.00 0.00 [Completed |
00168 POST CPR/AED Proficiency 2-17-2014 1.00 0.00 ;Completed —
00169 POST Active Shooter (2014 update) 2-17-2014 2.00 0.00 |Completed |
00035 Res-Cue Mask Issue 2-17-2014 0.00 | 0.00 |Completed |
00166 POST OS/Use of Force- MDTS/MEB Proficiency 2-03-2014 2.00 0.00 |Completed |
00157 POST Annual Firearms Qualification 2-03-2014 2.00 0.00 | Passed
00159 Firearms Qualification or Practice (POST Course) C 2-03-2014 1.00 0.00 |Passed |
| 00765 Firearms Patrol Rifle/Shotgun Qualification 2-03-2014 0.50 0.00 |Passed |
| P0014 POST La. Search/Seizure & Open Carry 1-08-2014 1.00 0.00 |Completed !
, P0019 POST Firearms Online 2014 4-08-2014 2.00 0.00 |Completed
; P0001 POST f Preventing Sexual Harassment 4-07-2014 1.00 0.00 |Completed
/ P0015 POST OS/DT Handcuffing Online 4-07-2074 4.00 0.00 |Cormpleted |
, POO16 POST Crime Scene Preservation/Documentation 4-07-2014 1.00 0.00 |Completed |
POO17 POST GPR/AED Online 4-07-2014 1.00 0.00 |Completed |
; P0018 POST Crisis Intervention/Active Listening 1-07-2014 1,00 0.00 [Completed |
| 00173 Ethics "14 1-07-2014 1.00 0.00 |Completed |
2014 Pass/Complete: 93.00
| 00176 Basic Police Motorcycle Continuous Training 12-06-2013 8.00 0.00 |Campleted |
| 00024 USE OF FORCE 3-19-2013 0.00 0.00 |Passed |
/ 00103 Gym/Wellness 3-19-2013 0.00 0.00 |Passed |
00022 Weapon Manipulation 2-14-2013 0,00 0.00 |Passed
007105 Ethics '13 4-29-2013 0.00 0.00 |Passed |
2013 Pass/Complete: 8.00
00068 '12 Adv Pat Rifle 10-22-2012 0.00 0.00 |Passed |
00704 Ethics '12 4-08-2012 0.00 0.00 |/Passed |
2012 Pass/Complete: 0.00

JPSO 007843
APR 9,2021 Jefferson Parish Sheriff's Office Page: 5
12:54PM Employee Profile _

Vega, Nicholas J. (114402)

| 00050 Defensive Driving 12-16-2071 0.00 0.00 |Passed

| 00005 Ripp Hobble — 10-20-2014 0.00 0.00 ‘Passed

00007 OC Sabre 10-20-2011 0.00 0.00 ‘Passed

00009 Racial Profiling 10-20-2011 0.00 0.00 {Passed

00016 MEB ~ 10-20-2011 | 0.00 0.00 |Passed
2011 Pass/Complete: 0.00

| 00130 | NAPD Recertification | 4-30-2010 | 0.00 | 0.00 Passed
2010 Pass/Complete: 0.00

00109 NIMS - Unit 700 3-28-2007 0.00 0.00 |Passed

00108 NIMS - Unit 100 3-27-2007 0.00 0.00 / Passed
2007 Pass/Complete: 0.00

|00119 | NIMS - AWR160 ‘| 616-2005 | 0.00 | 0.00 ;Passed
2005 Pass/Complete: 0.00

| 00129 | NAPD Driving | 3-27-2003 | 0.00 | 0.00 [Passed
2003 Pass/Complete: 0.00

Total Pass/Complete: 565.50

JPSO 007844
"APR 9.2021 Jefferson Parish Sheriff's Office Plage:

12:53PM ‘ep anak E e Profile
Guidry, Shannon D. (115037)
| Training
Course Title Date Hours Score Status
P0114 POST j 2020 Social Media 1-31-2020 1.00 | 0.00 |Completed
P0o01 POST f Preventing Sexual Harassment 1-31-2020 1.00 0.00 |Completed
P0110 POST 2020 e Ethics 4-31-2020 1,00 0.00 |Completed
= = 2020 Pass/Complete: 3.00
P0092 POST 2019 c OS Officer Survival Skills 12-03-2019 4.00 0.00 |Completed
Poog4 POST 2019 d Advanced Firearms 12-02-2019 4.00 0.00 |Completed
00023 TASER Annual Recertification 11-13-2019 2.00 0.00 |Completed
00023 TASER Annual Recertification 9-04-2019 0.00 0.00 |No Show
00170 POST Firearms Pre-Academy 7-16-2019 8.00 0.00 |Completed
P0093 POST 2019 a Annual Firearms Qualification 7-16-2019 0.00 0.00 |Completed
P0091 POST 2019 b De-Escalation Training 4-03-2019 4.00 0.00 | Completed
P0101 POST | Communicating with Deaf or Hard of Hearing 3-25-2019 1.00 0.00 | Completed
P0095 POST 2019 e Ethics 3-22-2019 1.00 0.00 |Completed
P0001 POST f Preventing Sexual Harassment 3-22-2019 1.00 0.00 |Passed
Poog6 POST h Dynamics of Domestic Violence 3-22-2019 1.00 0.00 |Completed
P0098 POST i Protective Order Registry 3-22-2019 1.00 0.00 |Completed
P0099 POST j Responding to Calls of Domestic Violence 3-22-2019 4.00 0.00 |Completed
P0100 | POST k Making the Arrest Decision 3-22-2019 1.00 0.00 |Completed
2019 Pass/Complete: 29.00
P0085 POST Gang Related Sex Trafficking - Sexual Assault | 11-10-2018 1.00 0.00 |Completed
POO7? POST Investigating Sexual Assault 11-06-2018 1.00 0.00 | Completed
Po084 POST Advanced Firearms 2018 10-09-2018 4.00 0.00 |Completed
P0081 | POST OS Officer Survival Skills 2018 10-03-2018 4.00 0.00 |Completed
P0030 /POST Bloodborne Pathogens (Online) 8-13-2018 1.00 0.00. |Passed
00023 TASER Annual Recertification 4-18-2018 2.00 0.00 |Completed
P0083 POST Annual Firearms Qualification 2018 4-10-2018 4,00 0.00 | Completed
P0080 POST CPR-First Aid (Classraom) 4-02-2018 4.00 0.00 |Completed
P0058 POST First Aid Pre-Req thr (online) Part 1 3-31-2018 1.00 0.00 |Completed
POO66 POST First Aid Pre-Req thr (online) Part 2 3-31-2018 1.00 0.00 |Completed
Poo7g POST Ethics 2018 2-13-2018 1.00 0.00 , Completed
P0001 POST f Preventing Sexual Harassment 2-13-2018 | 1.00 0.00 | Passed
2018 Pass/Complete: 25.00
POOS6 POST Advanced Firearms 2017 10-13-2017 4.00 0.00 | Completed
X0403 Successful Interview Techniques 7-26-2017 20.00 0.00 |Completed
X0395 Investigative Strategies for the Patrol Officer 7-21-2017 14.00 0.00 |Completed
P0068 POST Responding to Sexual Assault 7-02-2017 1.00 0.00 |Completed
00487 Courtroom Testimony Seminar 6-20-2017 8.00 0.00 |Completed
P0055 POST Annual Firearms Qualification 2017 4-11-2017 2.00 0.00 | Completed
P0062 POST OS Use of Force Room Entry 4-10-2017 2.00 0.00 |Completed
P0063 POST OS Use of Force FATS Scenarios 4-10-2017 2.00 0.00 |Completed
IBIT

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JPSO 007848
APR 9,2021 Jefferson Parish Sheriff's Office Page: 2
12:53PM ‘Employee Profile
Guidry, Shannon D. (115037)
Poo6O | POST First Aid 2hr (classroom) 4-10-2017 2.00 0.00 |Completed
P0061 POST Active Shooter ICS 4-10-2017 2.00 0.00 [Completed
P0030 | POST Bloodborne Pathogens (Online) 4-06-2017 7.00 0.00 |Passed
P0058 | POST First Aid Pre-Req ihr (online) Part 1 4-06-2017 1.00 0.00 |Passed
POO66 | POST First Aid Pre-Req 1hr (online) Part 2 4-06-2017 1.00 0.00 |Passed
P0065 | POST Firearms Glock Online 4-06-2017 2.00 0.00 |Passed
00023 | TASER Annual Recertification 4-05-2017 2.00 0.00 |Completed
00404 : Negotiations Training 4-04-2017 8.00 0.00 |Completed
P0001 | POST f Preventing Sexual Harassment 2-13-2017 1.00 0.00 |Passed
POO57 | POST Ethics 2017 4-06-2017 1.00 0.00 |Completed
2017 Pass/Complete: 74,00
X0149 Toumiquet Training 12-31-2016 2.00 0.00 |Completed
M0277 Region 2 Training Session 41-16-2016 8.00 0.00 |Completed
00544 Opioid Overdose and Reversal Training (Narcan) 11-09-2016 3.00 0.00 |Completed
P0039 POST Advanced Firearms 2016 : 10-06-2016 4.00 0.00 |Completed
P0054 POST Understanding Sexual Assault 8-29-2016 1.00 0.00 |Completed
P0052 POST De-Escalation In-Service Online 6-23-2016 1.00 | 100.00 |Passed
Po0sO POST Firearms In-Service Online 2016 6-23-2016 1.00 | 100.00 |Passed
P0048 POST Brady In-Service Training 2016 6-22-2016 71.00 | 100.00 |Passed
00023 TASER Annual Recertification 4-20-2016 4.00 0.00 |Completed
00157 POST Annual Firearms Qualification 4-14-2016 2.00 0.00 |Campleted
P0038 | POST OS/Use of Force/Active Shooter Scenarios 4-12-2016 4.00 | 0,00 |Completed
00168 ; POST CPR/AED Proficiency 4-12-2016 4.00 0.00 |Completed
Poo01 POST f Preventing Sexual Harassment 2-25-2016 1.00 0.00 |Completed
P0041 POST Ethics 2016 2-24-2016 1.00 0.00 |Completed |
2016 Pass/Complete: 37.00

00107 Leadership Workshop 10-21-2015 8.00 0.00 |Completed
P0034 POST Advanced Firearms on Range 2015 10-08-2015 4.00 0.00 | Completed
00404 Negotiations Training 9-16-2015 8.00 0.00 |Completed
P0030 POST Bloodborne Pathogens (Online) 8-21-2015 1.00 0.00 {Completed
P0029 | POST Firearms Trace (Online) 8-21-2015 1.00 0.00 | Completed
P0033 | POST Ripp Hobble (Oniine) 8-21-2015 1.00 0.00 |Completed
P0001 | POST f Preventing Sexual Harassment 8-21-2015 1.00 0.00 |Passed
X0115 Cyber Crime Law Enforcement Training 8-17-2015 2.50 0.00 | Completed
x0058 Negotiations Phase | & Phase II 7-24-2015 40.00 0.00 | Completed
00157 POST Annual Firearms Qualification 4-14-2015 2.00 0.00 |Passed
P0025 | POST Active Shooter (2015 Update) 4-14-2015 2.00 0.00 |Completed
P0027 ; POST Ripp Hobble Proficiency 4-14-2015 4.00 0.00 |Completed |
P0026 POST First Aid (2015) = 4-14-2015 4.00 0.00 |Completed
00023 | TASER Annual Recertification 4-08-2015 4.00 0.00 |Completed |
00428 | ,PR-24 Crowd Control Certification 3-24-2015 4.00 0.00 |Completed |
00492 "| Intoxilyzer 9000 Certification Course 3-06-2015 4.00 0.00 |Completed |
P0032 | Ethics "15 1-20-2015 1.00 0.00 [Completed |

JPSO 007849
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Jefferson Parish Sheriff's Office

Employee Profile |

Page: 3

Guidry, Shannon D. (115037)

: P0031 | POST Preventing Sexual Harassment (2015) | 1-20-2015 | 1.00 0.00 |Completed |
2015 Pass/Complete: 92.50
| 00404 | Negotiations Training 11-05-2014 8.00 | 0.00 |Completed |
00158 POST Advanced Firearms on Range 2014 10-09-2014 4.00 0.00 | Completed
P0018 =~=—S- | POST Crisis Intervention/Active Listening 10-07-2014 1.00 0.00 [Completed
P0016 POST Crime Scene Preservation/Documentation 10-07-2014 1.00 0.00 |Completed |
P0014 POST La. Search/Seizure & Open Carry 10-07-2014 ~ 7.00 0.00 |Completed |
00050 | Defensive Driving 7-25-2014 0.00 0.00 |Completed —
00233 Field Training Officer Certification 7-09-2014 24.00 0.00 |Completed |
00050 Defensive Driving 6-24-2014 0.00 0.00 | Completed
00167 POST OS/Use of Force-Less Lethal/TASER 4-24-2014 4.00 0.00 |Completed
00168 POST GPRIAED Proficiency 4-24-2014 1.00 0.00 |Completed
00169 POST Active Shooter (2014 update) 4-24-2014 2.00 0.00 |Completed
00035 Res-Cue Mask Issue 4-24-2014 0.00 0.00 |Completed
P0017 | POST CPR/AED Online 4-24-2014 1.00 | 0.00 |Completed
P0019 | POST Firearms Online 2014 4-24-2014 2.00 0.00 |Completed
P0015 | POST OS/DT Handcuffing Online 4-24-2014 1.00 0.00 |Completed
00130 |NAPD Recertification 4-22-2014 8.00 0.00 |Completed
00166 POST OS/Use of Force- MDTS/MEB Proficiency 4-10-2014 2.00 0.00 |Completed
00157 POST Annual Firearms Qualification 4-10-2014 2.00 0.00 |Passed
P0001 POST f Preventing Sexual Harassment 4-04-2014 1.00 0.00 |Completed
00173 Ethics '14 4-04-2014 1.00 0.00 |Completed
) 00023 TASER Annual Recertification 2-26-2014 4.00 0.00 | Completed
0156 TASER Transition to X26P/Use of Force 2-26-2014 2.00 0.00 |Completed
oo009 Racial Profiling 2-26-2014 1.00 0.00 | Completed
00005 Ripp Hobble 2-26-2014 4.00 0.00 |Completed
00015 | MDTS - Use of Force 2-26-2014 4.00 0.00 | Completed
00016 MEB 2-26-2014 4.00 0.00 |Completed
00007 OC Sabre 2-26-2014 | 2.00 0.00 |Completed |
2014 Pass/Complete: 82.00
P0001 | POST f Preventing Sexual Harassment 12-18-2013 1.00 0.00 |Completed |
00159 Firearms Qualification or Practice (POST Course) C 12-10-2013 1.00 0.00 | Passed |
00022 Weapon Manipulation 12-10-2013 1.00 | 0.00 [Completed |
2013 Pass/Complete: 3.00
Total Pass/Complete: 345.50

JPSO 007850
APR 9.2021 ee eee Pager 4.
12:55PM Employee Profile = fab
Estrada, Manuel E. (115479)

| Training
Course Title Date Hours Score Status

| 00165 Firearms Patrol Rifle/Shotqun Qualification 4-23-2021 0.50 0.00 |Registered
P0120 POST 2021 a Annual Firearms Qualification 4-20-2021 4.00 0.00 | Registered

00023 TASER Annual Recertification 4-14-2021 2.00 0.00 | Registered
P0121 POST 2021 b Intermediate Weapon Transition & Drill 4-01-2021 4.00 | 0.00 |Completed

| 00597 RADAR - Police Traffic Stationary RADAR Operator 3-22-2021 12.00 0.00 |Completed |

00159 Firearms Qualification or Practice (POST Course) C 3-12-2021 1.00 0.00 |Completed |
00159 Firearms Qualification or Practice (POST Course) C 3-05-2021 1.00 0.00 |Completed |

| P0001 POST f Preventing Sexual Harassment 2-13-2021 7.00 0.00 |Passed
P0127 POST i Social Media 2021 2-13-2021 1.00 0.00 |Passed
P0125 | POST g Legal Updates and Department Vehicle 2-09-2021 1.00 0.00 |Passed
P0126 POST h Responding to Active and Evolving Scenes 2-09-2021 1.00 0.00 |Passed
P0124 POST 2021 e Ethics | 2-03-2021 1.00 0.00 |Passed

P0001 POST f Preventing Sexual Harassment | 2-03-2021 1.00 0.00 |Passed

2021 Pass/Complete: 24.00

00023 | TASER Annual Recertification 12-16-2020 2.00 0.00 {Completed
P0109 | POST 2020 c Officer Survival Active Shooter 12-10-2020 4.00 0.00 |Gampleted |
P0105 POST 2020 d Advanced Firearms 12-10-2020 4,00 0.00 [Completed |
07000 Firearms Patrol Rifle Advanced 10-29-2020 4.00 0.00 |Completed
P0105 POST 2020 d Advanced Firearms 10-08-2020 0.00 0.00 |No Show
P0109 POST 2020 c Officer Survival Active Shooter 10-07-2020 0.00 0.00 |No Show
Loo03 Marine - District Boat Course 6-11-2020 4,00 0.00 | Completed
P0108 POST 2020 b CPR Defensive Tactics 5-28-2020 4.00 0.00 | Completed
P0104 POST 2020 a Annual Firearms Qualification 5-18-2020 3.00 0.00 |Completed |
00165 Firearms Patrol Rifle/Shotgun Qualification 4-27-2020 0.50 0.00 |Completed |
00165 Firearms Patrol Rifle/Shotgun Qualification 4-24-2020 0.00 0.00 CANCELLED
00023 TASER Annual Recertification 4-15-2020 0.00 0.00 CANCELLED
P0104 POST 2020 a Annual Firearms Qualification 4-06-2020 0.00 0.00 | CANCELLED
00159 Firearms Qualification or Practice (POST Course) C 4-03-2020 1.00 0.00 | Completed
00190 Firearms Assistance 4-03-2020 1.00 0.00 |Completed |
00159 Firearms Qualification or Practice (POST Course) C 4-02-2020 1.00 0.00 |Completed |

00159 Firearms Qualification or Practice (POST Course) C 4-01-2020 1.00 0.00 |Completed

| P0112 POST h 2020 First Aid Pt On-line 1-31-2020 1,00 0.00 |Completed
P0113 POST i 2020 First Aid Pt2 On-line 1-31-2020 4.00 0.00 |Completed
P0111 POST g 2020 CPR On-Line 1-31-2020 1.00 0.00 |Completed

| P0114 "| POST j 2020 Social Media = 1-31-2020 1.00 0.00 |Completed

| P0001 POST f Preventing Sexual Harassment 1-31-2020 1.00 0.00 |Completed

P0110 POST 2020 e Ethics 1-31-2020 1.00 0.00 |Completed |

2020 Pass/Complete: 35.50
P0094 POST 2019 d Advanced Firearms | 10-21-2019 4.00 0.00 |Completed | |
P0092 POST 2019 c OS Officer Survival Skills | 10-03-2019 4.00 0.00 }Completed |

EXHIBIT

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Estrada, Manuel E. (115479)
071000 Firearms Patrol Rifle Advanced | 8-27-2019 4.00 0.00 |Completed |
00165 Firearms Patrol Rifle/Shotgun Qualification 4-18-2019 0.50 0.00 [Completed |
00023 TASER Annual Recertification 4-17-2019 2.00 0.00 {Completed |
POOS1 POST 2019 b De-Escalation Training 4-09-2019 4.00 0.00 |Completed |
P0093 POST 2019 a Annual Firearms Qualification 4-08-2019 4.00 0.00 |Completed |
P0101 POST | Communicating with Deaf or Hard of Hearing 3-30-2019 1.00 0.00 |Completed |
P0100 | POST k Making the Arrest Decision 3-06-2019 1.00 0.00 [Completed |
Poogs | POST i Protective Order Registry 3-02-2019 1.00 0.00 iCompleted |
Poogs POST j Responding to Calls of Domestic Violence 3-02-2019 1.00 0.00 Completed |
| POOS6 POST h Dynamics of Domestic Violence 3-01-2019 7.00 0.00 (Completed |
| P0095 POST 2019 e Ethics 1-13-2019 1.00 0.00 {Completed |
| POOO1 |POST f Preventing Sexual Harassment 1-04-2019 4.00 0.00 |Passed |
2019 Pass/Complete: 29.50
POO66 POST First Aid Pre-Req ihr (online) Part 2 11-10-2018 1.00 0.00 |Completed |
P0081 POST OS Officer Survival Skills 2018 10-09-2018 4.00 0.00 [Completed |
Poos4 POST Advanced Firearms 2018 10-04-2018 4,00 0.00 |Completed |
} 00165 Firearms Patrol Rifle/Shotgun Qualification 4-13-2018 0.50 0.00 |Completed |
P0083 POST Annual Firearms Qualification 2018 4-05-2018 4.00 0.00 |Completed |
P0080 POST CPR-First Aid (Classroom) 4-05-2018 4.00 0.00 |Completed |
00023 TASER Annual Recertification 4-04-2018 2.00 0.00 | Completed |
PoOo77 | POST Investigating Sexual Assault 2-17-2018 1.00 0.00 |Completed |
P0085 ; POST Gang Related Sex Trafficking - Sexual Assault 2-17-2018 1.00 0.00 |Completed |
P0079 POST Ethics 2018 1-19-2018 1.00 0.00 |Completed |
P0030 POST Bloodborne Pathogens (Online) 1-08-2018 1.00 0.00 |Passed
P0058 POST First Aid Pre-Req ‘hr (online) Part 1 1-08-2018 7.00 0.00 |Completed
POO01 POST f Preventing Sexual Harassment 1-08-2018 1.00 0.00 |Passed |
2018 Pass/Complete: 25.50
P0056 } POST Advanced Firearms 2017 10-09-2017 4.00 0.00 [Completed |
X0395 Investigative Strategies for the Patrol Officer 7-21-2017 14.00 0.00 [Completed |
P0068 POST Responding to Sexual Assault 7-16-2017 1.00 0.00 ‘Completed |
P0062 POST OS Use of Force Room Entry 4-07-2017 2.00 0.00 |Completed |
PQO63 POST OS Use of Force FATS Scenarios 4-07-2017 2.00 0.00 [Completed |
00165 Firearms Patrol Rifle/Shotgun Qualification 4-06-2017 0.50 0.00 |Passed |
00023 , TASER Annual Recertification 4-05-2017 2.00 0.00 |Completed |
P0055 POST Annual Firearms Qualification 2017 4-04-2017 2.00 0.00 |Completed |
00159 | Firearms Qualification or Practice (POST Course) C 4-04-2017 1.00 0.00 [Completed |
P0060 | POST First Aid 2hr (classroom) 4-04-2017 2.00 0.00 [Completed |
P0061 ‘POST Active Shooter ICS 4-04-2017 2.00 0.00 [Completed |
POOo60 'POST First Aid 2hr (classroom) 4-03-2017 0.00 0.00 [No Show |
P0061 | POST Active Shooter ICS 4-03-2017 0.00 0.00 |No Show |
P0030 POST Bloodborne Pathogens (Online) 1-18-2017 1.00 | 100.00) | Passed
| POO58 POST First Aid Pre-Req 1hr (online) Part 1 | 1-18-2017 1.00 | 100.00! |Passed
| POOGS POST Firearms Glock Online 1-18-2017 2.00 | 100.00 | Passed i

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Estrada, Manuel E. (115479)

POO66 POST First Aid Pre-Req 1hr (online) Part 2 1-18-2017 1.00 | 100.00 | Passed |
P0001 POST f Preventing Sexual Harassment 1-12-2017 1.00 | 92.30 | Passed |
PoOos? POST Ethics 2017 1-07-2017 1.00 0.00 [Completed |
2017 Pass/Complete: 39.50
X0149 Tourniquet Training 12-31-2016 2.00 0.00 |Completed |
00544 Opioid Overdose and Reversal Training (Narcan) 11-09-2016 3.00 0.00 [Completed |
P0039 POST Advanced Firearms 2016 10-07-2016 4.00 0.00 |Completed
00165 Firearms Patrol Rifle/Shotgun Qualification 9-20-2016 2.00 0.00 | Completed
00534 Demonstration/Unlawful Assembly Phase |I 8-18-2016 8.00 0.00 | Completed
PO0S4 POST Understanding Sexual Assault 8-12-2016 1.00 0.00 | Completed
P0048 POST Brady In-Service Training 2016 8-11-2016 1.00 0.00 | Passed
P0052 POST De-Escalation In-Service Online 8-11-2016 1.00 0.00 |Passed |
P0030 POST Bloodborne Pathogens (Online) 7-24-2016 1.00 | 100.00 |Passed
P0048 POST Brady In-Service Training 2016 7-24-2016 1.00 0.00 |Passed
Poo5s0 POST Firearms In-Service Online 2016 7-24-2016 1.00 0.00 | Passed |
P0051 POST Firearms Pre-Academy Manual In-Service 2016 7-24-2016 1.00 0.00 [Passed |
00518 Dynamic Warrant Service Training 7-01-2016 40.00 0.00 |Completed |
00519 DWST Block 1 Warrant Planning 7-01-2016 0.00 0.00 | Passed |
00520 DWST Block 2 Patterms of Movement 7-01-2016 0.00 0.00 |Completed |
00521 DWST Block 3 Hall Boss with Shield 7-01-2016 0.00 0.00 |Completed |
00522 DWST Block 4 Stairs ~ 7-01-2016 0.00 0.00 |Completed |
00523 DWST Block 5 Hall Boss without Shield 7-01-2016 0.00 0.00 | Completed
00524 DWST Block 6 Mechanical Ram Breaching 7-01-2016 0.00 0.00 |Completed
00525 DWST Block 7 Mechanical Pick Breaching 7-01-2016 0.00 0.00 | Completed
00526 DWST Block 8 Window with Shield Porting 7-01-2016 0.00 0.00 ‘Completed
00527 DWST Block 9 Shield Shooting 7-01-2016 0.00 0.00 |Passed
00528 ——~«| DWST Block 10 Stacking Order 7-01-2016 0.00 0.00 |Compieted
00529 DWST Block 11 Downed Officer Recovery 7-01-2016 0.00 0.00 Completed
00530 DWST Block 12 FTX 7-01-2016 0.00 0.00 ‘Completed
00023 TASER Annual Recertification 4-13-2016 4.00 0.00 ‘Completed |
00157 POST Annual Firearms Qualification 4-05-2016 2.00 0.00 ‘Completed |
00165 Firearms Patrol Rifle/Shotqun Qualification 4-05-2016 0.50 0.00 Completed
00159 Firearms Qualification or Practice (POST Course) C 4-05-2016 1.00 0.00 ‘Completed
P0038 POST OS/Use of Force/Active Shooter Scenarios 4-04-2016 4.00 0.00 {Completed |
00168 POST CPR/AED Proficiency 4-04-2016 | 4,00 0.00 [Completed |
Po001 POST f Preventing Sexual Harassment 1-14-2016 | 1.00 0.00 'Completed
P0041 POST Ethics 2016 | 1-11-2016 | 1.00 0.00 {Completed |
2016 Pass/Complete: 83.50

| POO34 POST Advanced Firearms on Range 2015 10-06-2015 4.00 0.00 ;Completed |
00487 Courtroom Testimony Seminar 8-21-2015 8.00 0.00 |Completed |
P0030 POST Bloodborne Pathogens (Online) 8-09-2015 1.00 0.00 |Completed |
P0029 POST Firearms Trace (Online) 8-09-2015 1.00 0.00 Completed
P0033 POST Ripp Habble (Online) 8-09-2015 1.00 0.00 |Caompleted |

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Jefferson Parish Sheriff's Office

Employée Profile

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Estrada, Manuel E. (115479)

P0001 POST f Preventing Sexual Harassment 8-09-2015 1.00 0.00 |Passed |
PoOo30 POST Bloodbome Pathogens (Online) 8-02-2015 1.00 0.00 |Completed |
P0029 POST Firearms Trace (Online) 8-02-2015 1.00 0.00 | Completed
P0033 POST Ripp Hobble (Online) 8-02-2015 1.00 | 0.00 [Completed —
0029 Interview & Advanced Interrogation 5-08-2015 32.00 0.00 |Completed
00165 Firearms Patrol Rifle/Shotgun Qualification 4-14-2015 0.50 0.00 |Passed
00157 POST Annual Firearms Qualification 4-09-2015 2.00 0.00 |Passed
P0025 POST Active Shooter (2015 Update) 4-09-2015 2.00 0.00 |Completed
P0027 POST Ripp Hobble Proficiency 4-09-2015 4.00 0.00 |Completed
P0026 POST First Aid (2075) | 4-09-2015 4.00 0.00 |Completed |
00023 TASER Annual Recertification 4-08-2015 4.00 0.00 [Completed —
P0032 Ethics '15 “a 4-15-2015 1.00 0.00 |Completed
P0031 POST Preventing Sexual Harassment (2015) 1-15-2015 1.00 | 0.00 |Campleted
2015 Pass/Complete: 69.50
00428 | PR-24 Crowd Control Certification 12-04-2014 4.00 | 0.00 {Completed |
00426 Demonstration/Unlawful Assembly Training 12-04-2014 8.00 0.00 Completed
00158 POST Advanced Firearms on Range 2014 10-14-2014 4.00 0.00 | Completed
00023 TASER Annual Recertification 9-19-2014 4.00 0.00 ‘Completed
00081 CRISIS INTERVENTION JPSO 6-13-2014 40.00 0.00 Completed
P0001 |POST f Preventing Sexual Harassment 5-04-2014 | 1.00 0.00 |Completed
00167 | POST OS/Use of Force-Less Lethal/TASER 4-23-2014 1.00 0.00 | Completed
00168 | POST CPR/AED Proficiency 4-23-2014 1.00 0.00 |Completed
00169 ) POST Active Shooter (2014 update) 4-23-2014 2.00 0.00 |Completed
00035 Res-Cue Mask Issue 4-23-2014 0.00 0.00 |Completed |
00173 Ethies 14 4-19-2014 1.00 0.00 | Completed
00157 POST Annual Firearms Qualification 4-15-2014 2.00 0.00 | Passed
00166 POST OS/Use of Force- MDTS/MEB Proficiency 4-14-2014 2.00 0.00 | Completed
00157 POST Annual Firearms Qualification 4-14-2014 2.00 0.00 | Instructed
00165 Firearms Patrol Rifle/Shotqun Qualification 4-10-2014 0.50 80.00 | Passed
00163 Firearms Practice (Open Practice) = 4-07-2014 0.00 0.00 |Completed
‘P0019 POST Firearms Online 2014 3-02-2014 2.00 0.00 |Completed
Poo16 POST Crime Scene Preservation/Documentation 2-16-2014 1.00 0.00 |Completed
P0014 POST La. Search/Seizure & Open Carry 2-16-2014 1.00 0.00 | Completed
P0018 POST Crisis Intervention/Active Listening 2-02-2014 1.00 0.00 |Completed
P0017 POST CPR/AED Online 2-02-2014 1,00 0.00 |Completed
P001s POST OS/DT Handcuffing Online | 2-02-2014 1.00 0.00 {Completed
2014 Pass/Complete: 77.50 Instructed: 2.00
0156 TASER Transition to X26P/Use of Force 12-10-2013 2.00 0.00 |Completed
P0001 POST f Preveriting Sexual Harassment 12-08-2013 1.00 0.00 |Completed
00099 MDTS Instructor 8-23-2013 0.00 0.00 |Passed
00107 | + |Leadership Workshop 8-05-2013 0.00 0.00 |Passed
00106 | |Leadership 1 Modules 4-21-2013 0.00 0.00 |Passed
00023 TASER Annual Recertification 4-16-2013 0.00 | 0.00 |Passed

JPSO 007832
APR _9,2021 Jefferson Parish Sheriff's Office Page: 5
12:55PM Employee Profile
Estrada, Manuel E. (115479)
00024 | USE OF FORCE 4-16-2013 0.00 0.00 |Passed
00022 | Weapon Manipulation 4-02-2013 0.00 0.00 |Passed
00105 Ethics '13 2-09-2013 0.00 0.00 | Passed
2013 Pass/Complete: 3.00
00130 | NAPD Recertification 11-26-2012 0.00 0.00 | Passed
00079 i Inservice4. 7-27-2012 0.00 0.00 |Passed
00068 | '12 Adv Pat Rifle 6-21-2012 0.00 0.00 | Passed
00056 | 5 Adv Firearms 4-25-2012 0.00 0.00 |Passed
00078 en Inservice3 4-25-2012 0.00 0.00 |Passed
00104 i Ethics 12 4-08-2012 0.00 0.00 |Passed
2012 Pass/Complete: 0.00
00080 _ | HORNET 12-01-2011 0.00 0.00 |Passed
00007 | OC Sabre 8-11-2011 0.00 0.00 |Passed
00055 | 4 Adv Firearms 8-11-2011 0.00 0.00 |Passed
00077 Inservice2 8-11-2014 0.00 0.00 |Passed
00054 | 3 Adv Firearms 6-23-2011 0.00 0.00 | Passed
00076 Inservice1 6-23-2011 0.00 0.00 |Passed
00067 Adv Patrol Rifle 4-27-2011 0.00 0.00 |Passed
2011 Pass/Complete: 0.00
00050 | Defensive Driving | 12-02-2010 0.00 0.00 |Passed
00053 2 Adv Firearms | 9-30-2010 0.00 0.00 |Passed
00059 | Legal SOP Force " 9-30-2010 0.00 0.00 |Passed |
00032 CPR/AED 5-27-2010 0.00 0.00 |Passed
00035 ; Res-Cue Mask Issue 5-27-2010 0.00 0.00 |Passed
00052 | Adv Firearms 5-27-2010 0.00 0.00 )Passed
00044 i SFST 5-26-2010 0.00 0.00 |Passed
00033 First Aid 3-25-2010 0.00 0.00 |Passed
00048 | ISO-10 3-25-2010 0.00 0.00 |Passed
00015 | MDTS - Use of Force 2-11-2010 0.00 0.00 |Passed
00016 | MEB | 2-11-2010 0,00 0.00 | Passed
2010 Pass/Complete: 0.00
00031 | TASER 09 7-02-2009 0.00 0.00 |Passed
00037 | Low Light 7-02-2009 0.00 0.00 | Passed
00039 ' Firearms Patrol Rifle Class 7-01-2009 0.00 0.00 | Passed
00041 | PC-Patrol 6-04-2009 0.00 | 0.00 |Passed
00040 | HW Vehicles 4-23-2009 0.00 0.00 |Passed 4]
2009 Pass/Complete: 0.00 ~
00129 | NAPD Driving | 12-17-2008 0.00 0.00 |Passed
00027 | FTO Certification | 10-10-2008 0.00 0.00 |Passed
00028 ) PX-Holster | 4-08-2008 0.00 0.00 |Passed

JPSO 007833
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12:55PM Employee Profile
Estrada, Manuel E. (115479)
| 00004 , Active Shooter | 3-13-2008 | (0.00 | 0.00 |Passed
2008 Pass/Complete: 0.00
| 00025 Diversity - - | 4-12-2007 | 0.00 | 0.00 |Passed
2007 Pass/Complete: 0.00
| 00109 | NIMS - Unit 700 12-13-2006 0.00 0.00 | Passed
'00108 NIMS - Unit 100 12-12-2006 0.00 0.00 | Passed
00021 1S06-3 10-12-2006 0.00 0.00 |Passed
00002 , TASER User Certification Class 6-30-2006 0.00 0.00 |Passed
00017 | PR-24 1-17-2006 0.00 0.00 |Passed
2006 Pass/Complete: 0.00
00005 : Ripp Hobble 2-09-2004 0.00 0.00 |Passed
00006 'OC 1-26-2004 0.00 0.00 |Passed
00003 | Laptop | 1-20-2004 0.00 0.00 |Passed
00009 ‘Racial Profiling | 1-06-2004 0.00 0.00 |Passed
2004 Pass/Complete: 0.00
| 00001 | Holster | 8-27-2003 | 0.00 | 0,00 |Passed
2003 Pass/Complete: 0.00
Total Pass/Complete: 387.50 Instructed: 2.00

JPSO 007834

APR 9,2021- aig en Shi _ 3 ites 3 es Pager 1
Gaudet Jr, Myron A. (100179)
| Training
Course Title Date Hours Score Status
00597 RADAR - Police Traffic Stationary RADAR Operator 3-26-2021 12.00 0.00 |Completed
P0124 POST 2021 e Ethics 3-13-2021 1.00 0.00 |Passed
PQ001 POST f Preventing Sexual Harassment 3-13-2021 1.00 0.00 |Passed
PoOos7 POST g Preventing Sexual Harassment Supervisor 3-13-2021 1.00 0.00 |Passed
P0125 POST g Legal Updates and Department Vehicle 3-13-2021 1.00 0.00 |Passed
P0126 POST h Responding to Active and Evolving Scenes 3-13-2021 1.00 0.00 |Passed
P0127 POST i Social Media 2021 3-13-2021 1.00 0.00 |Passed
2021 Pass/Complete: 18.00
00023 TASER Annual Recertification 11-18-2020 2.00 0.00 |Completed
P0104 POST 2020 a Annual Firearms Qualification 11-16-2020 4.00 0.00 | Completed
P0108 POST 2020 b CPR Defensive Tactics 11-16-2020 4.00 0.00 |Completed
00159 Firearms Qualification or Practice (POST Course) C 11-06-2020 1.00 0.00 |Completed
P0097 POST g Preventing Sexual Harassment Supervisor 9-30-2020 1.00 | 0.00 |Completed
P0105 POST 2020 d Advanced Firearms 6-11-2020 4.00 0.00 |Completed
P0109 POST 2020 c Officer Survival Active Shooter 5-28-2020 4.00 0.00 |Completed
P0110 POST 2020 e Ethics 3-31-2020 1.00 0.00 |Completed
P0111 POST g 2020 CPR On-Line 3-31-2020 7.00 0.00 {Completed
P0112 POST h 2020 First Aid Pt1 On-line 3-31-2020 1.00 0.00 |Completed
P0113 POST i 2020 First Aid Pt2 On-line 3-31-2020 1.00 0.00 |Completed
P0114 POST j 2020 Social Media 3-31-2020 1.00 0.00 |Completed
P0001 POST f Preventing Sexual Harassment ~ | 3-34-2020 1,00 0.00 |Completed
00583 Peace Keeper Instructor Course 1-31-2020 16.00 0.00 |Completed
2020 Pass/Complete: 42.00
00176 Basic Police Motorcycle Continuous Training 12-20-2019 8.00 0.00 | Completed
P0091 POST 2019 b De-Escalation Training 11-13-2019 4.00 0.00 | Completed
00023 TASER Annual Recertification 11-13-2019 2.00 0.00 |Completed
007159 Firearms Qualification or Practice (POST Course) C 11-08-2019 1.00 0.00 [Completed |
P0093 POST 2019 a Annual Firearms Qualification 11-04-2019 4.00 0.00 |Completed
00585 Basic Police Motorcycle Course - Open Practice 8-13-2019 0.00 0.00 |Completed
Poog4 POST 2019 d Advanced Firearms 5-07-2019 4.00 0.00 |Completed
Poog2 POST 2019 c OS Officer Survival Skills 5-07-2019 4,00 0.00 |Completed
P0101 POST | Communicating with Deaf or Hard of Hearing 3-29-2019 1.00 0.00 |Completed
POOg6 POST h Dynamics of Domestic Violence 2-26-2019 1.00 0.00 | Completed
Poogs POST i Protective Order Registry 2-26-2019 1.00 0.00 |Completed
Poogg POST j Responding to Calls of Domestic Violence 2-26-2019 1.00 0.00 |Completed
P0100 POST k Making the Arrest Decision 2-26-2019 1.00 0.00 |Completed
P0095 POST 2019 e Ethics 2-21-2019 1.00 0.00 |Completed
P0001 | POST f Preventing Sexual Harassment 1-01-2019 1.00 0.00 |Passed
| 2019 Pass/Complete: 34.00
| 00165 | Firearms Patrol Rifle/Shotqun Qualification | 11-30-2018 | 0.50 | 0.00 |Completed |
& EXHIBIT
31 JPSO 007835
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12:56PM Employee Profile.
Gaudet Jr, Myron A. (100179)
00159 Firearms Qualification or Practice (POST Course) C 11-30-2018 1.00 0,00 |Completed
POO83 POST Annual Firearms Qualification 2018 11-19-2018 4.00 0.00 |Completed
P0080 , POST CPR-First Aid (Classroom) 11-15-2018 4.00 0.00 |Completed
00023 | TASER Annual Recertification 11-14-2018 2.00 0.00 |Completed
P0030 POST Bloodborne Pathogens (Online) 11-10-2018 1.00 0.00 |Passed
P0058 | POST First Aid Pre-Req thr (online) Part 1 11-10-2018 1.00 0.00 |Completed
POO66 | POST First Aid Pre-Req thr (online) Part 2 11-10-2018 1.00 0.00 | Completed
00487 , Courtroom Testimony Seminar 8-09-2018 8.00 0.00 | Completed
00081 | CRISIS INTERVENTION JPSO 6-15-2018 40.00 0.00 |Completed
00050 | Defensive Driving 5-24-2018 4.00 0.00 |Completed
P0081 | POST OS Officer Survival Skills 2018 5-14-2018 4.00 0.00 |Completed
P0084 POST Advanced Firearms 2018 5-08-2018 4,00 0,00 |Completed
00050 Defensive Driving 4-26-2018 4,00 0.00 |Completed
P0085 | POST Gang Related Sex Trafficking - Sexual Assault 3-03-2018 1.00 0.00 |Completed
POO77 | POST Investigating Sexual Assault 3-03-2018 1.00 0.00 |Completed
P0079 | POST Ethics 2018 2-27-2018 1.00 0.00 |Completed |
P0001 POST f Preventing Sexual Harassment 2-17-2018 7.00 | 0.00 (Passed
2018 Pass/Complete: 82.50
P0062 | POST OS Use of Force Room Entry 11-16-2017 2.00 0.00 |Completed
POO63 | POST OS Use of Force FATS Scenarios 11-16-2017 2.00 0.00 |Completed
P0030 | POST Bloodborne Pathogens (Online) 11-11-2017 1.00 0.00 |Passed
P0065 | POST Firearms Glock Online 14-11-2017 2.00 0.00 /Passed
POQ058 POST First Aid Pre-Req ‘thr (online) Part 1 41-11-2017 1,00 0.00 |Passed
P0066 POST First Aid Pre-Req thr (online) Part 2 11-11-2017 71,00 0.00 |Passed
00023 TASER Annual Recertification 11-08-2017 2.00 0.00 |Completed
P0055 ; POST Annual Firearms Qualification 2017 11-07-2017 2.00 0.00 |Completed
POO6O POST First Aid 2hr (classroom) 11-07-2017 2.00 0.00 |Completed
P0061 POST Active Shooter ICS 11-07-2017 2.00 0.00 |Completed
00165 ~—| Firearms Patrol Rifle/Shotgun Qualification 11-02-2017 0.50 0.00 |Completed
00159 Firearms Qualification or Practice (POST Course)C —-| 11-02-2017 7.00 0.00 |Completed
00191 LLETS Inquiry Only Operator Certification 7-17-2017 0.00 0.00 |Completed
P0068 POST Responding to Sexual Assault 7-17-2017 1.00 0.00 |Completed
P0056 POST Advanced Firearms 2017 5-08-2017 4,00 0.00 |Completed
POO57 | POST Ethics 2017 2-04-2017 1.00 0.00 |Completed
P0001 ; POST f Preventing Sexual Harassment | 2-03-2017 4.00 0.00 [Passed |
2017 Pass/Complete: 25.50

x0149 ) Tourniquet Training 12-31-2016 2.00 0.00 |Completed
00165 | Firearms Patrol Rifle/Shotgun Qualification 12-22-2016 2.00 0.00 |Completed |
00544 | Opioid Overdose and Reversal Training (Narcan) 42-16-2016 3.00 0.00 |Completed |
P0030 POST Bloodborne Pathogens (Online) 12-14-2016 7.00 0.00 |Completed
P0048 | POST Brady In-Service Training 2016 | 12-14-2016 1.00 0.00 |Completed |
P0052 | POST De-Escalation In-Service Online | 12-14-2016 4.00 0.00 |Campleted |
PoOs0 | POST Firearms In-Service Online 2016 12-14-2016 1.00 0.00 |Caompleted |

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12:56PM  Eimployee Profile )
Gaudet Jr, Myron A. (100179)
| POOS1 | POST Firearms Pre-Academy Manual In-Service 2016 | 12-14-2016 1.00 0.00 |Completed |
00165 | Firearms Patrol Rifle/Shotgun Qualification 11-08-2016 0.50 0.00 |Completed |
00159 Firearms Qualification or Practice (POST Course) C 11-08-2016 1.00 0.00 |Completed |
00157 | POST Annual Firearms Qualification 11-07-2016 2.00 0.00 [Completed |
| POO38 | POST OS/Use of Force/Active Shooter Scenarios | 11-07-2016 4.00 0.00 |Completed
| 00468 POST CPR/AED Proficiency 11-07-2016 4.00 0.00 |Completed
00023 | TASER Annual Recertification 11-02-2016 4.00 0.00 |Completed
P0054 | POST Understanding Sexual Assault 9-21-2016 1.00 0,00 jCompleted |
| 00534 | Demonstration/Unlawiul Assembly Phase II 8-16-2016 8.00 0.00 |Completed |
: 00195 | Marine - Class A Urban Search and Rescue Vessel 6-30-2016 3.00 0.00 [Completed |
P0039 i POST Advanced Firearms 2016 5-13-2016 4,00 0.00 |Completed |
00050 Defensive Driving 2-25-2016 4.00 0.00 |Completed |
| P0041 POST Ethics 2016 | 2-01-2016 1,00 0.00 |Completed
| POOO1 POST f Preventing Sexual Harassment | 2-01-2016 7.00 0.00 ‘ Completed
2016 Pass/Complete: 49.50
P0033 | POST Ripp Hobble (Online) 12-13-2015 1.00 0.00 |Completed |
00023 | TASER Annual Recertification 11-19-2015 4.00 0.00 |Completed |
00165 | Firearms Patrol Rifle/Shotgun Qualification 11-16-2015 0.50 0.00 |Passed |
00159 | Firearms Qualification or Practice (POST Course) C 11-16-2015 1.00 0.00 |Passed
00157 | POST Annual Firearms Qualification 11-13-2015 2.00 0.00 |Passed
P0025 POST Active Shooter (2015 Update) 11-13-2015 2.00 0.00 (Completed |
P0027 POST Ripp Hobble Proficiency 11-13-2015 4.00 0.00 |Completed
P0026 | POST First Aid (2015) 11-13-2015 4.00 | 0.00 [Completed
P0023 ; POST Firearms Trace (Online) 9-04-2015 1.00 0.00 |Completed
P0030 POST Bloodborne Pathogens (Online) 9-04-2015 1.00 0.00 |Completed
00233 | Field Training Officer Certification 9-03-2015 24.00 0.00 |Completed
61515 | Quick Responce Team Training(Mobile Field Force) 7-22-2015 8.00 0.00 |Completed
P0034 ; POST Advanced Firearms on Range 2015 5-11-2015 4.00 0.00 [Completed |
0156 ; TASER Transition to X26P/Use of Force aa 4-27-2015 2.00 0.00 |Completed |
00023 | TASER Annual Recertification ___| 427-2015 4.00 | 0.00 |Completed |
00426 , Demonstration/Untawtul Assembly Training 4-24-2015 8.00 0.00 |Completed |
X0016 | Krav Maga Level 2 Instructor Course 3-27-2015 40.00 0.00 |Completed
P0032 | Ethics '15 2-22-2015 1.00 0.00 |Corpleted
P0031 ; POST Preventing Sexual Harassment (2015) 2-22-2015 1.00 0.00 |Completed
2015 Pass/Complete: 112.50
00167 POST OS/Use of Force-Less Lethal/TASER 12-17-2014 1.00 0.00 |Completed |
00169 | POST Active Shooter (2014 update) 12-17-2014 2.00 0,00 |Completed |
, 00168 | POST CPR/AED Proficiency 12-17-2014 1.00 0.00 [Completed |
P0016 | POST Crime Scene Preservation/Documentation 12-02-2014 1.00 0.00 |Conipleted |
P0019 | POST Firearms Online 2014 12-02-2014 2.00 0.00 |Completed |
P0014 | POST La. Search/Seizure & Open Carry 41-24-2014 1.00 | 0.00 |Completed
00438 - SPEAR System Level 2 Advanced 11-20-2014 32.00 0.00 |Completed |
P0017 ,POST CPR/AED Online 11-13-2014 1.00 0.00 |Completed |

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12:56PM Employee Profile
Gaudet Jr, Myron A. (100179)
| P0018 | POST Crisis Intervention/Active Listening 11-12-2014 1.00 | 0.00 |Completed |
P0015 | POST OS/DT Handcuffing Online 11-12-2014 1.00 0.00 |Completed |
‘00159 Firearms Qualification or Practice (POST Course) C 11-10-2014 7.00 0.00 |Passed |
00165 Firearms Patrol Rifle/Shotgun Qualification 11-10-2014 0.50 0.00 [Completed |
| 00157 POST Annual Firearms Qualification | 11-07-2014 2.00 0.00 |Passed
00166 POST OS/Use of Force- MDTS/MEB Proficiency | 41-07-2014 2.00 0.00 |Completed
00412 )RIPP Restraint Instructor Course 10-24-2014 24.00 0.00 |Completed |
00372 Firearms Glock Transition 10-15-2014 0.00 0.00 |Completed |
| 00173 Ethics '14 7-01-2014 1.00 0.00 |Completed |
001538 POST Advanced Firearms on Range 2074 | 9-13-2014 4.00 0.00 |Completed |
00285 Krav Maga LE Instructor Course 5-09-2014 40.00 0.00 [Completed |
P0001 POST f Preventing Sexual Harassment | 3-28-2014 1.00 0.00 |Completed |
2014 Pass/Complete: 118.50
, Poo | POST f Preventing Sexual Harassment 12-10-2013 1.00 0.00 |Completed
00092 | High Water Vehicle/International Harvest 7400 8-27-2013 0.00 0.00 |Passed
00107 Leadership Workshop 6-18-2013 0.00 0.00 |Passed
00023 TASER Annual Recertification == 3-19-2013 0.00 0.00 |Passed |
00024 USE OF FORCE 3-19-2013 0.00 0.00 |Passed |
| 00103 Gym/Wellness 3-19-2013 0.00 0.00 |Passed |
| 00705 Ethics '13 1-30-2013 0.00 0.00 |Passed |
2013 Pass/Complete: 1.00
00068 |'12 Adv Pat Rifle | 10-29-2012 0.00 0.00 |Passed |
; 00104 Ethics "12 | 5-09-2012 0.00 0.00 |Passed |
2012 Pass/Complete: 0.00
| 00084 On/Off Duty Police Encount 5-13-2011 0.00 0.00 |Passed |
, 00050 Defensive Driving 2-16-2011 0.00 0.00 |Passed |
2011 Pass/Complete: 0.00
: 00067 | Adv Patrol Rifle | 10-25-2010 | 0.00 0.00 [Passed |
2010 Pass/Complete: 0.00
00039 Firearms Patrol Rifle Class 11-17-2009 0.00 0.00 |Passed |
| 00037 Low Light = 9-78-2009 0.00 0.00 |Passed |
, 00046 Firearms Drop Leg Holster | 9-18-2009 0.00 0.00 |Passed
00025 Diversity | 6-25-2009 0.00 0.00 |Passed
2009 Pass/Complete: 0.00
| 00028 |PX-Holster | 811-2008 | 0.00 | 0.00 |Passed |
~ 2008 Pass/Complete: 0.00
| 00005 | Ripp Hobble 7-31-2007 0.00 0.00 |Passed |
00006 ‘OC 7-31-2007 _ 9.00 0.00 |Passed —|
, 00009 Racial Prdfiling | #-31-2007 | 0.00 0.00 |Passed |
| 00016 | MEB | 7-31-2007 0.00 0.00 |Passed |

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Gaudet Jr, Myron A, (100179)

| 00017 PR-24 7-31-2007 0.00 0.00 | Passed

00002 TASER User Certification Class 6-01-2007 0.00 0.00 | Passed
2007 Pass/Complete: 0.00

| 00010 Court Decisions 7-22-2002 0.00 0.00 |Passed |

00047 Flying Armed 7-17-2002 0.00 0.00 |Passed

00130 NAPD Recertification 5-09-2002 0.00 0.00 |Passed
2002 Pass/Complete: 0.00

| 00256 | Monadnock PR-24 Instructor Certification | 8-28-2001 | 8.00 | 0.00 |Completed |
2001 Pass/Complete: 8.00

| 00003 Laptop 11-18-1998 0.00 | 0.00 |Passed |

00259 Monadnock MDTS Instructor Certification 2-12-1998 0,00 0.00 [Completed |

00260 Monadnock PR-24 Certificate of Competency 2-12-1998 0.00 0.00 |Completed |
1998 Pass/Complete: 0.00

Total Pass/Complete: 491.50

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